CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2956 Page 1 Of 91

EXH|B|T C

Statement of Linda Stermer

 

 

  
  
   
 
  
  
   
    
   
   
    

CaSe 22~;|_2-CV-14013-AJT-DRG ECF NO. 46-2 filed 10/31/18' i:’age|D.295

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Keri:zy_, Baiiey and Associates '

f'=“KB&A _Case: 07-1262 .
Cii_ent: (2388) Farm Bureau insurance

interviewer: James Shinsi<y (J)
interviewee:. i_inc_ia Stermer (i_)

interview Date; January Q_and 10, 2007

' J. Oi<ay, this is a record lease number is 07-
1262. Today’ s date i§ *_ _ t iQ'p. m. /-\nd We are at
_ the horne location i_e r._he " .:_ u ) ..do is just speak

good clear Engiish i v the owner ot the property And i
have it asi_ inda Ster:
i_. ~S-T-E-R-i\/i-E-R. .
'J. s .~.. oh, oi<oy. s-t-e t E -R. oo you nor/o o mrooio namo?
i_» Kay, K-'A-Y." ~
J. And Wha_t is your~date of birth, Linda’?
i_. 11/'16/64.
J. Ano the home address 1356598 county eooo 215?§
i_'. Correct. t w
J. _ And what’s the best phone number to use to get a hoid of you?

i_. 269~539-0219.

J. An<_j this is~i_avvrence mailing
i_. Correct.

J. 49

i_. ` `064.

Page 1 of 90 - Linda Stermer lnt'erview

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF Ne. 46-2

i(i_.

i/\l_.

l i<L.

' l'(i_r

filed 10/31/18 Page|D.2958 Page 3 of 91

And we have a F’.O. 'oo><.
P.O. bo)<?

673. _

 
  
 
 
 

An`o‘ what township are you in here’? ~
Lawrence (inaudihie)

Oh, it is Lawrence Township? And `
Yes. x
An'ci your husbands
Joseph Stermer.
Joseph? An<:l what’s h\sdateof

i'i/22/64.

 

And then you have yet-ir gi ltriend with you.

~ i\io, rny sister.

. Oh, it’s your sister. ihat’s right And what is your name, .rna’em’?

i<irn.
is it
i_aPorte. L-A, capital P~O-R-T-E.

And that’s a sister And l have, that phone number that l have is a good phone
number tor you? ~

Yes.
The one they gave me?
Yeah.

And what is your name, sir’?

page 2 of 90 - Linda Stermer interview

CaSe 2212-0Ve14013-`A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2959 Page 4 Of 91

tieh‘. The last name is Gagy. G~A~G~l~E.'/-\nd my phone number in F‘aw Paw is l

     
  
  
 
  

G.
655~i 'i ’i 8.

J. 18, okay. And i have your TX. \/\/ho normally lives in the house her ith ya,
i_inda’? `

L. ` My~husband, myself, and our three sons.

J. .' And what are your sons’ names?

i_. .Trenton. Do you need last names al

J Ah ha

" \~Y, F'ierce, P-i-E~P\-

   

J. /i\no'. the first questio ,x t§itisourid a little strange-but it’s kind ofa qualifier, is
that are you under th;§;.z»in uence of aloohol, drugs, or any condition that may
affect you answering questions?

i_. l’ve taken a Xana)<..
v tl. But you don‘t think that wiii affect your answering questions’?
L. l don’t think so.
J. You’re able to think and function okay? Basically, if you could, what i’ii have

you do is go through/the events of the day leading up to the fire, the fire, and if
'you kind of explain what went on, that’il answer probably half of the questions
that l have in my questionnaire And then l have the fire, the, actuaiiy, the date
of the fire was on Sunday? '

l_. timm mm.

J, And that’s danuary the 7“‘.t About what time’?

i . i\/lm, it was after three sometime

.J, /-\nd‘that’s pm?

L Yes.

Page 3 of 90 - Linda Stermer lnterview

CaSe 2212-CV-14013-A.]T-DRG_ ECF NO. 46-2 filed 10/31/18 Page|D.2960 Page 5 Of 91

.tl. Okay. Go ahead-. if you wanna just, with Sunday morning, or what was going
on’? ' `

l_. Um, Sunday morning, l had got up and, um, went down to the, um
l\/'larathon and gotten some eggs and some breakfast meat, an
that morning Um, filied_up the Blazer. An'd then came horn
And, um, Todd~was still in bed at that point. Um he'jgid zurst , t
him the receipts for his medicines, prescriptio'ns(,--yzand,~:~,` " "he iast§co:upie days’
receipts that l had spent And he got very an th l‘cau_se l hadnt
recorded them in his checkbook and, um, toi ` ,soon`e'“r"3 And, ah,
he was screaming at me about tha "`" um '
woke the boys up. l think this is§~" '
boys that they could go`& ' e m ‘_;

      
 

   

 

   
  
   
 
   
     
     
     
 
    
 

 

Um iwent back ug
laundrythen or if it !`
Todd some breakfa _4 7n
mali. ,L\nd, um, then v,v. co

as go»pna send the boys to the
' hing. i.lm, i was gonna be going

  

iii tai 1

 

 

to my sister’s to sta ja l" b_ n`d .! so l made him his breakfast, and
he took his medicin n; vye dld§nt really discuss all that much more. And he
sat down and watch huntin’ program in the living room, and l _did

some laundry and s "hes, and um, came.back upstairs and had to
read the instruction b_._gokl

et for my son is on a speciai prescription that you

have to enroll on the('computer and answer questions and that, l guess,
monthiy, so we were gonna go get his blood work done on l\/ionday, so wanted
to get ali the computer end of it done on Sunday, and i must’ve fallen asieep. l
was laying on our bed, reading the book, and i took a little nap. Arid when l got
up, um Todo' had asked me for something to drink. l went in the kitchen and
was loading the dishwasher, and, um, washing up`his breakfast dishes and,
and, um, l got him some juice. And he took some more medication And, um
told him l was going downstairs to do some laundry. There was a towel in
the laundry that smelt like fuel or gas.or so i ran that througb__|.im_g)}l(\
restarted the laundry then, ‘cause it arm emaner an l restarth it, And, u ..
_ ing at me, and then all of a sudden, l heard him scream. Then
running up the stairs and _. .. there was fire from our bedroom to his
recliner; and he was on fire. And his whole upper body and there was fir

nd smoke, and i couldn’t see him really well, and_l just turned a ut the
dOOr. /-\nu` jumped in the van, 'cause i didn`i know OW WOuld get anybody
except l would go over to lviike and Connie's. And l backed up, and then l
seen Todd in the yard‘, and l got out to try and help him get the fire off of him.
A'n, before that, l heard a', something in the house, a, a boom.

 

 
 
 
   

   
 
 
 

 

J. i\low in the morning, you ran and got breakfast stuff about what time? Do you
remember, do you recall what time that was?

L. Around nine or so.

Page -//- of 90 - Linda Stermer Interview

' ln, in l_awrence.

Case 2:12-cv-14013- -
A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.2961 Page 6 of 91

And then when you say you ran to the i\/iarathon, where’s the l\/iarathon
located at’? ' `

  
 
  
   
  
  
 
 
  

in l_awrence? Everybody has their local stops, and we cov
that it’s like, “Okay, now where’s the l\/iarathon’?” And t_ le up'“~the truck',
you were back home here. i\iow you’re saying that Tot§ was tai<iri_rg;;
medication lt looks like he, by the sound ofi d take ;meds a couple of

times \/\/hat type ot medication is he taking?

    
   
 
   
 

Um...

 

m s said that the doctor
‘rrible, and he was feeling

  

 

said that he was rea - _ `ally

sick to his stomach _i' Y e’s here to get the littie, the
oii.

i_. ie, ina two tires with the iowa

U. ' The two tires with the biue?

v J. Yu,o.

U. Alright.

So he had stuff for his ear infection’?

i-lmm mm.

l ddn’t know if my pencil"s gonna work or not.

Dc you want a pen'?

Oh here, l’ve got another orie. i just have to dig inside the overalls to get it.
l\low when you say he got angry over you not recording the prescription
purchase and stuff, is he the one that normally runs, controis the money? l~ie‘s
got you on a little bit of a tight rope"? ~

Yeah, l give him my paycheck

Oh. i\low you say he was angry, l mean was he just yelling, grumbiing, or was
he l

Page 5 of Q`G - Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2962 Page 7 Of 91

' And this is just some other thing to trip another argument?

i-le was screamingl Um, we’d been arguing quite a bit,‘and,`you know, we

were arguing over me leaving to go to my sister’s, and

 
  
  
 
 

dust one more straw.
l\iow you say you went down to get the boys u isaid th was
around ten.

Yeah.
/-\nd then ali three boys
Hmm mm.
And then did they ulti
veaii. iioioi them ina
things today. And l to' "`
school, and lwas go:

day, they would have
l told them t wasn’t s

_i .;. 9

tth iey‘were going to stay here and go to
o Aunt i(im’s. And l told them that later on in the

et me so that l could get the Blazer from them. And

mv

f l would be at Aunt i<im’s_when they lett yet or not,

 

' and just to we would talk and figure out where they were supposed to_meet

me to bring the Blazer to me, and then l’d bring ‘em home.

Do’you normally drive the Blazer?

Yeah.

i\low do the boys have cell phones for you to get in touch with them’?
l-i.mm mm.

Siily question Every kid has a ce|i phone

dust about, huh?

Yeah.

And they know how to use it better than we do.

Page 6 or' 90 ~ Linda Stermer interview

 

 

 

 

 

 

case 2:12-c - - - `
_ v 14013 A.JT DRG ECF No. 46-2 filed 10/31/18 F`>age|D.2963 Page 8 of 91

Oh that’s no lie. \/\/e were at a staff meeting and one ot our guys got a new
phone and couldn’tfigure out how to get it to program l sa'id, “i can fix that."
So l dialed up my daughter and said, “rlere, tell her what you want to ,do."
Yeah. And she completely understood And about what time was lat‘.§'_the
boys left’? ' '

    
  
  
 
   
  

Oh, l don’t know, maybe eleven or so.

And then after getting the boys upi they woke§
breakfast? . "

gonna viiarjina do,
d, so ljust asked
they were going, and

    

U. `l/i/e’re gonna

L. Oi<ay. l/i/here

 

U. (unintel/igible)

i., okay i/i/eii (inaudio/o)
u. Huh?

i_. Okay. l/l/ell, how much did they say? '

U. Um, 160. _

i_. find they’re gonna match those up

U. Yup.

l_. so that there Won’t be any problem if they cent match ‘em up then?
U. /\lo, Kate already called ’em_; they have the tires and everything

‘-`

Ol<ay. it"s foui'-vi/heei~drii/e
U. Yup.

i_. and you got to match ‘emjust right

F’age 7 of 90 a Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2964 Page 9 Of 91

U. ( unintelligible )

 
 
 
  
 
 
 

i_l l_ove you.
U. /_ove you, too.
L. Br-jtney! Do you have any, can you, could you g

with some water for \/egas? Please. Driye:ouft_
i_. The farm pig. h
J. Pardon me?
t_. The farm p'ig.
J. Oh.‘
l_` i-ie’s overthere.

J. Oh. i-le’s friendly’? l~ie§

i_. ' Trenton taught him he
J. the watch pig?
i_. sit for treats l-ie sits down for a treat

J. And he’s the, the neighborhood watch pig.
l_. Something like that,
G. l_ooks like he’s had a couple oftreats.

t_. Yeah, a few. Trenton got a bottle ot our, um; pancake syrup and held it up iri
the air and poured it in his mouth»to` teach him how to, how to sit. Todd, he
didn’t want him here at first ‘cause he would root up the yard. And we took him

l in for a friend who lived in the city and he was tearing up the neighbors
flowerbeds. So Todd said,` "You either get him figured out how to make him
stop tearing up the yard or he’s gotta go.” So we got his nose pierced and he
never tore up anything after that And Todd made him quite the little palace
down there at the shed. `

,i. Oka~y, now the boys ieft. Did you ultimately cook breakfast for you and Todd?

L. Um, just for Todd. l, my stomach was just in knots, so l didri’t eat.

Page 8 oi”90 ~ Linda Stermer /nterview

Case 2:' - - - ‘ `
d d 12 CV 1401'3 A.]T-DRG E-Cl: NO. 46-2 filed 10/31/18 PagelD.2965 Page 10 Of 91

`And about what time was that?

i\/iaybe around ten, ithink.

   
  
 
 
   
 
  

So basically, Todd was up as the boys were leaving and
Yeah, They didn‘t come up and talk to Todd, ‘cause he and

Now is that, would that be normal for him this the kids

kind of avoiding him?

VVell he’s been Yeah.

 

end then it iorio or

   
  
  

:l Q~;F'

 

Now does he take hi n` the boys, too?

l\lo.

 

it’s just basically you=_.__'». rid you’re trying to protect them and have them not

here?

Yeah. l just don’t like ‘em to hear ali the stuff that he screams, and You
know, and it used ..to be where he would just yell at me when the boys weren’t
here, but he didri’t seem to care muct_iyi/_ho_wa_s_”he_re_ a.nym_ore.

l\low was Todd aware that you were gonna go.to your sisters and stay’?

\f\/e talked about that Saturday.

/-\rid it’s basically you just getting away from him’? \/\/hat was his reaction on

Saturday?

Um, well he had a few different reactions He, he, um, wanted to make sure l
wasn’t gonna take the boys. And l told him that there was no way l could,
'cause, you know, they had to stay in school. And, you knovv, i wasn’t gonna
uproot everybody because you know move ‘em all into my sister’s', there
would be just too much. `

l\low have you guys been talking about a divorce’? Or is it just

For the last couple years really

F’age 9 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2966 Page 11 Of 91

'out, and ...`And then he told me that we could

/-\nd it’s

And a couple months ago, l had made up my mind for sure that l was._gx§oing to.
And had papen/vork and had it all filled up, and l had already shows ‘.;o him,
and`..`.

        
  
  
 

And what was his reaction then?

Um, he~told me to take the Blazer and go, ang

 

change itl could change, and

guess

Now is he a drinker
(i_naudible}

l mean is he, when h does he drink and then get angry’? Or

Um, he used to. But he’s just been morejust taking, um, his prescription
medicines, my sleeping pills, muscle relaxants', pain pills, a lot ot ditterent

things lately.

Go ahead and teli him about his recreational stutt with his bud-dy.

' l-le had been smoking pot, too.

is that something tairly recent?
l-ie used to do it
Or at least you found out recently’? _

V\/eil, he used to do it, and, um, he had quit for quite a longtime And, um, he
and his buddy got together, and, um, l tound out because l had asked him
about this job, going to get this job, um, because his business just Wasn’t
paying the bills and he just wasn’t working regularly at all. He would sit around
and mope around, and And, um, he told me he couldn’t go and apply t`or
the job just yet. And l asked him why, and he told me because he had smoked
some pot, and he had to wait until it was out ot his system. Because he was

sure with a job like that that they were gonna wanna test him, and, ah

Page '/ 0 of 90 - Linda Stermer /nter\/iew

Case 2:1 - - - ` 1
2 CV 14013 A.]T-DRG ECF NO. 46-2 filed 10/31/18 PB_QelD.2967 PB_Qe 12 Of 91

,~’\nd what kind of business was he in?

kie sells gloves and, to different businesses He’s a wholesaler And he:=just,
he woul»dn’t go out and work every day. " " :':'

    
  
  
     
  
 
  
 

One of those where he has, had to make contacts to p

Yup.

 

And if you don’t go see ‘em, they don’t`l‘;)
get off a little bit. That’s fine; it fills .i "'
that, basically, on Saturday, had?` j
Did you end up with an / fi htin "
beaten you? To where "
complaints filed?

 

 
 

\ tyou?H .
"' ;dornestic'violence

rinau<iiue)

Basically it was one o ttithe beating and didn’t say anything’?

    

deem
(inaudible)
You have to answer_y_.es or no.

Yes.

Yeah. l know, l know,» l realize this is difficult, but gathering`ail of the

~ information You know,- my primary role is to determine what caused the fire,

and the events of the day. And obviously, there’s been a lot going on that
you’ve been putting up‘with for quite a while. But you never, you’ve never
called the police on him for hitting you?

i\/ly friend called the police a few weeks ago, like around Thanksgiving time.
But see,y we lived in F'ortage, and somebody had called the police back then,
and when we were sitting down with the police officers individually, l was
making a report of what had happened, and he came out with the male police
officer and he told me l had a lot to think about. He said that he wasn’t gonna
go to jail by himself, that we would both go, And l_asked him why. And the
police officer said, “V\!ell your husband said that, um, you hit him also. And so
we have to take you both in.” And, um, so they explained it all to me, and l

` didn’t wanna go to jail and have the kids, you know, go through all that, eo l

didn’t finish the report, and l’ve never made a complaint against him since
then, because of that, '

l\low the friend, you say a friend of yours called back about Thanksgiving’?

Page 11 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-AJT-DRG vECF NO. 46-2 filed 10/31/18 Page|D.2968 ,Page 13 Of 91 ~

Yeah. i-'.\no`

\/\/as that this past Thanksgiving?

 
 
 
 
 
  
  

Yeah.

is that while you were living here'?
Yes.

And that’d have been a call to th ` ‘

Yeah. Um, and he, um '
that nothing happened

l\/lm, about twelve y
Oh, okay. eo it was
Yeah. y
How long have you guys been married’?

Thirteen` years.

And how long together before that?

Um, we met in ’89. i\lovember, right before my birthday

And now, he took his medications and then began watching hunting programs
About'what time was that’? \/\/as that ali around that ten, eleven, with get up

and the kids left?
Yeafi.

And then from th`ere, you went down to do some laundryl

Yes.

How many loads of laundry? l mean were»you, about how long were you
downstairs? ‘

F’age 12 of 90 - Linda Stermer interview

CaSe 2212-CV-14013- - ` `
A.]T DRG ECF NO. 46-2 filed 10/31/18 PageiD.2969 Page 14 Of 91

l`folded laundry l was putting C`nr_istrnas ornaments in the boxes V\le have a
pool table in the basement, and l had all the boxes laid out and was just

puttering.

  
   
  
  
 
 
  
  
  
   
  

Basically staying away from him?
Yeah. V\le did that a'lot.

And then about what time would you say you v hen you
were gonna do the, read the instructions on yio ' ' ` v

i\/laybe around noon or so.

And then you said y

::s, um, l Pledge, it’s

Um, it’s a fold'er~typ v
haw tul drug if`you don’t do

called, for acne med\j_c
everything just right ' `

And then you dozed ;
l really don’t know. U'

Now did you just wake u

p on your own’? Or did you wake up because he was
yemng? . .

No, l remember hearing him down in the basement doing something And
when l got up though, he was back in his reciiner, in the living room, upstairs

. And he had asked me for something to drink when l had gotten up. And so l

went in and got him something to drink And did some dishes and
(inaudible) . ~

l_. (answering phone) l\/iay l call you back please, l<en? Okay. l/i/e’re here
at the farm rightnow. Yeah. Urn, We have the, um

J. Fire investigator

i_. Fire investigator here. i’m sorry

J. ,linother one on the list.

L. Right now. l/l/’e’re meeting withhim and then in, um, in a little hit, l ’ve

gotta leave to get to the funeral home Oh my goodness. Oan, can i,
um, can l come over later on this afternoon? And l’d like to see the
dogs, too. Okay. Thank you l’ll call you. Okay. Thank you

Page 13 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10131/18 Page|D.297O Page 15 Of 91

J. i\low when you say you heard him in

l_. linaudible)

   
    
      
   
 
  
    

d. V\/hoops. \/\/hen you heard him in the basement, l mean, wasit
mean, how did you know he was in the basement do~ing.`s__e"`et_ _
of noises’? l mean, do you have any idea what he was _ own

ivhat kind

 

l_. l\lo. Um, like, l know he was at the fireplace d ' '_ . e'ard the,
um, screen. " ` `

J. Hmm mm, ~
L, end on and men
had made a fire for hi

good‘day to have a

i\low

C.._

l__ l made a fire in the: p

Okay. i\iovv when youj psta`rs, is that

Y...,.

i_. . The main floor.

J. This level here is upstairs? And then when you say you heard him downstairs,
that would

L. We had a fire, um, place downstairs also.

J. ln the basement? ~

i_. But we kept all the wood downstairs.'

J. Okay. But that, like § said, there was a basement, a firepiace on the basement v
walkout level?

i_. Yes.

d. And upstairs?'

l_.. , And upstairs

u‘. Okay. ‘Cause l’m not, lim not familiarwith the whole iayout.

L. l’m sorry

Page 7 4 of 90 ~ Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PaQe|D.29'71 Page 16 Of 91

J. Yeah. \/\/eil, and like l said, and that’s, but that’s filling in the hianks. So there
was, was there a tire going downstairs’?

i_. i\io.

 
 
 
  
   
      

J. Okay. There was tire
i_. ~ (unintelligit)ie)
Kl_. (u.nintelligibie)

i_. Um, he had wood upstairs and §
up here. ' ‘ ‘

 

J. And then he said it’

 

l_. Hmm mm.
J, is there any reason h:"‘" '
L. i\io. tie just asked me met rn`es he’d ask me to, sometimes he_’d ask the

i\/ly sons were pretty good at making a tire. l-ie

boys to. You know, l .
` ` pretty good tire in the tirepiace,.too.

taught ‘em how to ma
i<i_. (uninteliigibie)
l_.' l_\/im mm.

J. Yeah, you’li end up with'peopie stopping by, wondering it they pan do
estimates iortear-down and rebuilding, and ii you need to hire any heip.

l_. Oh.
\i. ' An@r
l.. Yeah, i think that’s doe letra, who owns the sawmiii'.

J. Yeah, that’s, they’ii be you’il be tired ot people stopping by.
i<L. rinaudrbi;~)

' J. Yeah, it you aren’t already, it
L. V\/hy are they just walking around there?

i<l_. rmaudibie)

'F'age 15 of 90 - Linda Stern'ier /ntervievv

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2972 Page 17 Of 91

somebody else is here, somebody eis gets s

' i\iow this medication he’s taking

. a antibiotic?” Urn, th

dust looking And`then, from there, you were talking about that you went up,
that `iodd had asked for something to drink.

Hmm mm.

 
  
 
 
 
 
    

is there any reason he can’t get up and get a drink himsei

Sornetlmes he was, um, pretty groggy trorn th '
stomach had been upset, and ...'And that’sit_i

antibiotics or something’? ‘

_:re ja ar
re;§a`,s'¢t?v;;e'rantibioti<;, but when l

  
  
  
  
  
  
 
 
 

he told me that, um .
got to the pharmacy,

wouldn’t be able to ti asked them, l said, “V\/eii, is this

id 'e nrdc dme inner ii Was. And lead "weii,
can i lust buy somet ;g ver~th.e oun’terto get him through until l can get
something?." And the ';yeai§z:',»';it"s just a, a decongestant was ali that was,
with a antihistamine .. _-hd so then the next day, on Sunday Or rio, on
Saturday. l’m sorry. S_;_at.urday, l, um, picked that up ior hlm.

       
 

    

 

l_inda, he’s (inaudible)

l_. Hi Joe.

Joe. iheard about Sor/y noney.

i_. Tl'ianks.

Joe. Sornethin’ / can do, l don’t know. l got, ii got a log home package over
there And it’s here for five years /t's been, never been water running
A log, log home Ano‘ the foundation probably is good too. And ! got'a
guy that"s a builder Wno"s looking to design a log home So if you’re
wantin_’ to do anything like that, iknow right now, you (inaudibie)

L.' / don ’r' know anything right _now.

Joe. 50 i\’eep in toucn. Wnen is the funera/?

L. Um, l’m supposed to meet at 2.'00 in Portage with the funeral horne

Joe. Hmm mm

P.age 16 of 90 »~ Linda Stermer intervievi./

Cas ' - - il
e 2.12 cv 14013-A.JT-DRG ECF No. 46-2 filed 10/31/18

' Joe.
. Joe.

Joe.

Joe.

Joe.

Joe.

Joe.

L.

Page|D.2973 Page 18 of 91

um

Hmrn mm,

 
  
 
  
  
  
  

As soon as l get done here, then /’l/ meet
Okay.

with Todd’s mom and farnin
Okay.

settin’ that up.

s sixteen when he

 
 
 

And, ah, my best friend jus ,.»'di bout a month and a half ago. l-le was
forty ' ‘ what was Dennis? He was 51.

 

 

Mrn.

But...

i/i/el/ we’\/e gotta finish this up, and then we’/l go in there and then l’ll set
that all up, and

'Okay.

l’ve got people calling.
(unintelligible) Okay.

Do you~have a business card, so
Yeah, l just put'some in my wallet
Gkay.

l tell ya, l’ve got a, l’ve got a house, too. l’ve got that farmhouse over on

(unintelligible)

Page 'I 7 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2974 Page 19 Of 91

Jo.

LD

l_.

Joe.

l_.

Joe.

l_.

Joe,

Joe,

Joe.

on the property

l/l/here Kim (inaudible) used to live?

  
  
 
  
     
  
  
  
 
  
  
  

/\lobody’s. living _. .. Yeah.
Hmm mm,
Ah, nobody’s living /'n it,

Okay.

rr/e; ir needs rha
ne. Pry =oonnect up

water,' l’ve got;_.:
got all furniture ’s‘in

the electric. [\/§:)
there l"ve go :_

Ckay.

 

1. l was gonna put a wood burner outside l’ve got

And ah,-stuff_l
` er,been tired.'l paid 200 bucks. But, ah, okay. l/l/e’ll

1

it over here, b‘_

i/l/ell thanks for stopping
l/i/ork something out Okay.
Dkay, You take care

Hey (unintel/igib/e) find out, ah, let Dave rnow or somebody.

/-vrrghr. /Wi/i.

l/i/ell, give me a oall. You give me a call
l

and let.me know.

Glray.

i/i/hen the funeral is.

l’// give my friend your Card and she"s been

F’age 18 of 90 ~ Linda Stermer interview

case 2:12-cv-1401 - - - `
3 AJT DRG Eci= i\io. 46-2 filed 10/31/18 Pageib.zs?s Page 20 or 91

Joe. Alright. Cool.

l.. helping me. Thank you.

  
  
   
   
  
     

Joe. Alright, thanks a lot.

l_. Sorry.

‘.'¢v 35
lsis ply_pne o;i any

J. Oh no, not a problem l_lke lsald, you’ve go _
.. ` " _.use, u stairs, ls

things that you have to take care ot, a d
there a second story? "
i_. There was just a lott. Yu__p '

J. And then the main tie

   
    
   
      
  
 
  

uje».s_.1 rod ut we had our computer
next room was a, a guest bathroom,
and behind that was m t , `*And then there was a‘walk~through
closet trom the master at go the master bedroom And then this up here
was all just entryway_..“ :en there was a storage closet from the entryway
wall to the tireplace. ”‘ here where all the vents, the ductwork and

everything was all ste 'ge.

i_. ` Right here was a otli __
and all that stutiin th 'e A-

 

J. Okay. And that was built, built kind ot in the closet area?

l_. Yeah. And'then the living room. And then this end right here, there was a
pantry, mudroom, laundry roorn, but we didn’t have laundry up here yet; lt was
just storage And, um, then the kitchen and dining room were all one room.
‘= § Between the dining room and the living room, there was just a halt-wall. And,
\ um Todd has his, um, oil lamp and candies burning on that halt-wall

v
§ l. /-\nci Wouid the

ey were. ‘Cause l had complained that it smelt bad in there, and, and that
towel that he had thrown down in the laundry room. l said it was stinking up -
the house. ‘ -_~""“'"”’“`

 
    
    
  

 

ve“bgerrb‘u’rnl'r©mat day ./

  

 
 

    
     
    
 

l\lovv the towel, you say he threw dow ` dry room’?

f

i_. ‘ Yeah. And it was on the laundry room floor And he told rne to go ahead and
a'. .

  
 

tl. Did he say anything about how the towel got coated with yoll, or

  

Page 19 of,90 - Linda Stermer interview

  
 
       
    
   
   
   
   
 
      

Case 2:12-cv-14013-AJT-DRG ECF No Page 21 of 91

  

.. Urn, sometimes ourturnace would go out,-and, um, he woul
bleed that. So ljust figured V\ie heated with fuel oil.

l\low With the turnace, it is an oil furnace?
l-lmm mm.
is it hooked up with a blower and everything,
Yeah, l guess so.

The furnace burns, and then the"§ -

 

 

   

l_. ed air. Yeah.

J. Ol<ay, yup.

l_. ldon’<tlnow howto sf - . _…
think they ret the hutto s on_'the side evor’s phone.

J. l\low when you guys w y home in the daytime do you normally have your
doors locl<ed’?

l_. i\lo.

J. How ‘bout when you leave, it you`re gone?

l_. Um it we' re all gonna be gone yes. le, the boys didn’t have a house l<ey, so

ii the boys were gonna be home soon, then no
4 J. Who has l<eys?

l_. Todd and l.

J. l~lave you ever had any other fires'?

L. um, Todd had a tire ata house in Portage, when we lived in Portage.

J. And you say that was, you lived there, it was? l

L. Um, we lived in one house ar\d~there was a little house on the property that he

had, and it burnt down.

J‘. And about how long ago’?

Page 20 of 90 - Linda Stermer interview

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2977 Page 22 Of 91

C_.

lt was when we first moved there, so it would’ve maybe been ’QO or ’Qi, ’92,
somewhere in there. V\/e moved out here in ’Q€S. So

That’s my next guestion, how long have you lived here?

   
  
   
 
 
  

Um, here in this house, only three years But in l_awrenc

Todd built this house, yeah

Any plans of moving out of here

tim

l\lo plans. Um, Toddi
Canada, and '

 

l\lothing serious?

No.

Or it wasn’t lil<e you were gonna seil it and move.

V\/e weren’t lool»<ing or seel<ing, o_r if that’s what you mean.

And this is three years oid. So he built the entire home? Did he have
contractor help on any of it? ‘

Urn, he had someone who was a builder come in and lay out the plumber. l-le
had someone from a furnace place and lay out and, um, help with the
ductwork and put the furnace in. And he hired somebody to do the shingles on
the ro_.or' ‘cause he didn’t lil<e being on his l<nees lil<e that. And, um, the electric,
somebody, you l<now, hool<ed that up. l-l`e put it all there, but they inspected it
and '

Oh, ol<ay, so
hooked it up.

He basically just l<ind ot subcontracted it himself, what he didn’t do on his
own’?-

\"eah.

Page 21 of 90 - Linda Stermer interview

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18. Pag$|D.2978 Page 23 Of 91

i\low since the house was built, has there been any changes to it? '

V\ie’ ve just been doing little things here and there to it. l mean like my son s
bedroom in the lott. Um, we just gothlm moved up there. Paint Todd":'st

finished painting it not too long ago and .And um, we bought :...,"_ew
carpet and put it up there, and .. ‘

    
  
  
 
      

 

i\le\/er been'any other tires inside this house?

i\lo.

l guess so. l haven t

l~tave,you had any c
or talked with.ya?

i\lo.
ltow is this the l_awrenc'e Si`re Department’s area"’

Um, yeah but l A friend ot mine who came and visited today said that the
Decatur Fire Department came here, too.

(inaudible)

it just seemed like it, everything took forever for anybody to get here.
U. 4 (/'naudib/e)

i_. it’s here.

u. ` irs her-99

i_. Sor/y.

U. Yeah.

i_. B_j/ the garbage can,

U. Bj/ tne`garbage can. Oi<aj/. Bye.

L. Brain ciouo',

F’age 22 of 90 - Linda Stermer interview

Case 2:12-cv-14013- -
A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.2979 Page 24 of 91

l\low during, during the morning Or l should say, let‘s talk about now the
half~wall divides the kitchen and the family room area. \that kind ot oil iamps

Were on there'?

   
 
   
  
   

Um, just, um,» one was a tragranced. lt was a little plastic thi
was childproof because you

ls it one ot those little like an incense

di ’OU Op@n the cap

V\iith a wick in it, and 1t hasa smell.{U_;nj,x, `
` hing with

and this thing pops up. And you 11
a wick, and

  

oh, go irs just a 1a its twa

l\lo, but, um, we had jo e otthose
with a wick in it. ‘ ‘

 

 

l\low the scented one wa :,'
that has, it’s just a sm ll cd a1ne .. ’ `

  
   
 

 

lt’s just a smali conta ut t don’t know what kind it was. dust that it was

Do you know where came from'? is it something that he purchased, or is it

something that
Yeah. Um And he had the oii, too. Um

i-low big on On the smallest one, how big ot a container wouid you`say that
was? You know, one cup, two cups’?

l don’t know, llke, um, maybe like a baby bottle, the smaller kind of..
l’m not familiar with that (unintelligible)

l_ike a _

Fo.ur ounces.

Four ounces Thanks. She has a new grandbaby.

Ah. Familiar with those slzes. l‘\iow the blown glass one is set up for an cit
lamp. ‘

Yeah.

Page 23 of 90 ~ Linda Stermer interview

as - CV .

C.._

Paoe 25 or 91 1 ‘
lt has a wick.

Yes.

 
 
  
    
   

Did it have the twisty thing tor raising and low
l\lo.
Okay.

J-ust a' decorative more. l didn’t `urid' it’s just

a little bitty glass plug that hold
Oh, like a_ giass bead '

Yeah. `

 

And how big was th
l\lot terribly. l
l mean was it

Lil<e
four ounces, eight ~ounces’?

kAore than the small orie, but hot a maybe just like double. l\/\aybe like eight
ounces or something

rand then there’s just the two of those?

Yeah.

And then what type of candies’?

Just, um, scented. candles.

Are they big candles? Or like the little tea light?

l\io, just in the, um, glass jar. Small. lee maybe votive size or something
About how many ot those were going? d

Um, one thatl seen.

Page 24 or' 90 ~ Linda Stermer interview

case 2:12-cv-14 _ - '
_ 013 AJT prac Eci= 1\10.46-2 filed 10/31/18 Pageio.zesl Page 26 or 91

J. end then both

l_. . lt was on the bar, on the kitchen counter, where he was doing bills ln, in the
morning There was a l’m sorry. The, the kitchen and the dining »r i were
separated only by a bar, Counteitop with cabinets underneath `" eti-know

about how much longerwe’ll be’? ` '

       
   
 
  
      
 
 
 
 
 

4 J. .Yeah, that’s why i’m looking at the clock l’m-ki

  

l_. l’m sorry. '

J. l`rri kind ot pushing through Yeat ot othe _ _
appointments That’s, whe yo at two,” th s why l’m
looking at the clock A' " »ng? i_igh-t" that didn’t

work? Breakers that

L. i\lot- that i can think o_.
again in the last cour§l `.

J So you say the rurna
l_ l\lo.
J, l\iow the furnace is an oil iurnace. i'iow often have'you had to have this bleed,

you know, do the bleeding ot it?

l_. V\iell, um, t think he did it like Saturday night. Um, iast winter, we had to have
Fields come outL a couple ot times. Arid Todd thought maybe we had, maybe
water in the fuei. But apparently, when they set us up, they didn’t put the, the,

um, tubing all the way down like it should’ve been, or it was too close, or
something He said somehow there was air getting in, or something to one ot

those tubes, and He’d just go down and open a thing, and there was a little
hose, and he would just bleed it through

. J. i\low if he had to bleed it like that, did he end up with oil on the tloor’?
L. \"ea'n.
J, lt kind ot makes a mess. '
i_. Yeah. And kitty litter we’d put dow-nih there sometimes and
J. d Yeah, that’s one ot the problems with oil. lt’s great for heat and stuff, but it’s a

little messy to work with if you have a problem.

Page 25 of 90 ~ Linda Stermer interview .

 

ag

(unintelligible) l was afraid to death ot propane ida wanted to put propane

in here and l wouldn’t have propane

ppened to causey """t»i~'r

Any opinions, in your mind, what do you think ha
you

mean have you had any kind ot problems or something that
on’? Or what do you think caused the fire’? `

  
   
 
 
 
  
  
   
   
  
    

 

 

 

s

Go ahead and tell him tinaudibl

l kind of feel like maybe Todd yelled at me
that nobody else would ever have:.i, '
meant for both ot us to l don’t:th: 4

  

q "bout getting a divorce
tth _ `~od was just testing him to
he had brought up his, um,

_ hing it, and l knew, i seen out ot

" e walked up the stairs, that the gun was cocked,
uitf in his"hand. i\nd he came over and stood right
behind me, when the or 'uter was in the dining room, and, and he pointed it,
but it was not t codl`d=~'?see in the computer screen, the barrel ot it was not

pointed straight at mei but he stood there And he just said, behind me, he

said, “i’m really sorry to have to do this, Linda.” And l turned around and l
looked at him, and he just laughed at me and said l should’ve seen my face
because l looked reaily scared, and that he was just messing with me. And
that’s when l decided that l had to take some legal steps, and talked to my

sister, and made arrangements

He_ has in the v
because he had to `
see which one ot us_\‘_i§ias
shotgun after hunting
the corner _of my eye
and he had his clean

 
 
  
  
    

 

   

 
  
 

And about how long ago was this’?
i\lovember.

So at that point you kind of decided that
That was

things probably weren’t gonna turn around’?

tinaudible)

Did you smelt anything in the house’?

Yeah, it stunk. Like that towel, i:`iut mostly in the basement

F’age 26 of 90 - Linda Stermer interview

Case 2: - - - d
12 cv 14013 A.JT-DRG ECF No. 46-2 filed 10/31/18 Page|D.2983

'Yes.

P&Q€ 28 Of 91

l\low was the furnace working that day’?

  
   
  
  
  
 
 
  

l\low when you came upstairs i\low you said you could hea. iii_;ig, am
then it turned to screaming, what was he yelling at marin ' _.

That’s when he wasyeliing at me that nobody else wo

l-tas he ever said flat outright that he was goi
threatened to kill you’? ‘

(inaudlble)

 

in~those un, those wards-..D'id he ekend, Saturday,

Sunday, anything ab"dgr gorin

 

(inaudible)
That’s no?
i\tot this weekend.: l’

Okay. Yeah Oh l kndw, people aren~’t used to 1

Um,~he did say l’m sorry. He didn’t say anything about killing himself, but he
did say about our bills and how much we owed his sisters and his mom, and
the mortgage and everything and that we didn’t have enough life insurance on

-both of us to You know, it’d' take both of our life insurance policies to take

care of everything

' Did you ever discuss what goes on with the boys at that point?

l\lo. \i\ie’ve always, we' had a plan that his sister V\ie discussed that years
ago. That, you know '

l\low was there a noise’? Did you hear any sound between when he was yelling

‘ with the threats and the argument, and between when you heard the actual

screaming? V\/as there any noise that

\/\ihen l got outside the door, um,`i heard a noise a, a, a small boorn, and then
l could hear a beeping. l could hear then a, a smoke or a fire detector at that
polnt. But but that was after l got outside

And then where is the stairway that comes from the main ievel to the
basement?

F’age 27 of 90 ~ Linda Stermer interview

C.__

C.~

l_. l<itchen, dining

J. ls it po

i_` ves <inaudibie>

Urn, right where the turnace, or the right behind the tirepiace, where the
en the stairway was right there. »

closet was, and th

  
  
 
 
      
 
  
  

Okay, now does it go straight down into that room? Or

Yeah, straight, straight down that way.’

Okay,'it goes down this way?

he kitchen to the downstairs

Yes. From t

You don’t have blueprints tor thi`

es in

l’m sure /-\GS has the .
everythingl very

Schoolcratt. ‘Cause _
meticulously, with the

  
  
 
  

That’s Associated Go ernmeht

Yes. _
That might make it rea sy to tind out what everything looks iike.

;_`
u~

 

 

Yeah.

And now you came up the stairs, where was Todd at?
he corner from the ‘stairway,'to the living room,
or and his recliner. And. he was

een our bedroom do
d there was jus ` lot ot smoke, and it
tin the living room where

Um, when l came around t

there was a lot ot tire betw
to our-bedroom, an

more closer

But there was no tire from there was a poin

there, it, it was like, it was between our bedroom and his recliner, but nothing-
on this side ot it.

Nothing on this side coming back towards the kitchen, dining room, and the

stairwell'?

room,' nothing
ssible, l won’t do it now, to have you kind'ot draw a sketch ot what the

tloor plan was’?

ll have probably, l’m,gonna need probably

hat now, ‘cause l sti
do that iater.

tl. \l\/e won‘t do t
another halt~hour. But maybe we can

F’age 28 of 90 - Linda Stermer interview

Case 2:12-cv-1 - -
4013 A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.2985 Page 30 of 91

 
 
   
      
   
   
  
 
 

 

 

  

l_. Okay.
J. ‘Cause l know you have other appointmentsl
l_. Thank you very much.
J. Then that way, we can kind ot sketch the floor plan T ou saw,
where was the fire at? \/\las it on th el ing. -» flooi'?
l could see Todd’s legs. The chair was_§_)n fi _' d 1 ittle bit of
tire on the floor. And then there w ~ ‘ ` '. Um, l
couldn‘t tell if it was him or it it wa ~
He was covered.
G. V\iith fire.
l_. Fire. dust completely
'J. Now how did you go 'hich` way did you go?
l_. t ran out this front door and
J. Out the front door? ls that the same way he came out?
l_. l don’t know where he came out at.
U. l\lo.-
l_. When l came out though, l don’t remember closing the door, butl heard the '
door slam. l mean it, itjust went whoosh. And
J. And that's when the door slammed’?
(,ohone' conversation in background)
J. - Now when you came outside,` what did you see as tar as smoke and fire’? t
mean did you V\/hen you first came out, what did you do?
l-_, lt was just black. i, l, um t ran towards the side of the house, and l seen a

bunch Ot smoke. And so l ran and l got into the van 'cause ofl didn’t have
no way to call anybody unless l got to the neighbors And l didn’t have any v
shoes on. So l, l was, l thought tor a second i’d run through the horse pasture,
but then l thoughtl should drive the van

F'age 29 of 90 - Linda Stermer interview

l
l

\] D
ag

l point that was

l to pull his pants and his_;;s:.ecks off and

_ and t had-to get some

And then you say you see smoke, was the smoke corning out doors, windows,
or just through the ro.of? '

 
   
   
  
  
  

l don’t even remember. l just know thatl seen smoke But l don’t

remember where it was lt seemed like it was-on l rememb :g~::up at

some point and seeing a bunch ot black smoke, but l don re er at what

And then you jumped in the van, and did you \ e out in _ _e van’?

    
 
     
  
  
   
  
  
  
  
   

ex qui
own. l-le'§.\,'/vas trying
med at hi_rrijliand told

l had backed up, but then l seen`_jTo"d“`S
jumped out to see if l could hel l

him to lay down. And

And then how did_th ou ultimately make a

call to the fire depart

 
 
  

h

v »,
’.'Z .

. cause l couidn’t get the van back

` , we don’t have gravel over here. And, and l

top Yahd help him. And then i realized l couldn't
to help us. end so t jumped back in the van, but l
couidn’t back back up;~:A‘“nd so, usually we go down the, to the driveway,
‘cause it’s reai sandy right in front of the house, and, and get going fast and
get back up, and But then l seen him laying over there, so l jumped out of
the van and ran to him. i-le wasn’t on fire anymore. And then l seen our

neighbors come up, and l was just screaming at ‘em to call Qtt.

i\lo, um, when l was
up, ‘cause it’s so m
pulled over here tot .

  

l\iow whereabouts was he laying (unintelligible)

Over on the

Between here and where the driveway goes around’?

Yeah.

(inaudible) About from here to that gold car.

Oh, okay.

And there is a spot in the dirt where there’s a, a blood spot, and that
Okay. ‘

..l may be where his head was. And his body then was tace, was going
towards the tree line. lt’s still there; l just saw it a few min-utes ago.

F‘age 30 or' 90 - Linda Stermer interview

c>

' And then maybe if ya

/-\nd then you'say neighbors then pulled in’? k

Yeah. Then while l was laying on him and trying to keep his mouth ope_g and
keep him breathing then another neighbor got here and said that he
medic', l didn’t realize who it was at first. And they pulled me g "
and started checking him over. And they got, um, that boa
from somewhere, l don’t even know where that was, a
and then drug him away~frorn the house farther
the paramedics then finally got here, but it se__'
get here. F\nd l don’t know who got here firs

    
  
   
  
 
  
     
 
 
   
  
  
     
     

Let me grab my form. lf you wa
me permission, ‘cause t kn.gw y g
at that’? So basically ` ns w o _
permission And the
everything done, we l_c.
house, and

 

C>kay.

    

take . . and just a floor plan. You know, square
fn . . (unintelligible} some of that sort of stuff, so

box with kitchen, dini .
l get an idea of what’ e`re. And then t will try and check with the other, with
t, They’re

that Assoc`iated Servi'ces and see it` maybe they’ve got a blueprin
located in

   

They’re in Schoolcraft.

' in Schoelcraft? /»\re they in the phone book?

Yeah.

l guess l would only be concerned that l wouldn’t want her signing that to ,
interfere with the authorities investigation.

l had to sign something l didn’t have to, butl signed something for the
police _already.

Right.l\’es. Yeah, and l had contacted them to make suretit was okay for me
to go on the scene.

Okay.

And they said yeah, that they were done with the scene

Okay.

Page 37 of 90 ~ Linda Stermer lnten/iew

Cas : - - - . `
e 2 12 cv 14013 A.JT-DRG EQF No. 46-2 filed 10/31/18 Page|D.2988 Page 33 of 91

J.

C....

g:)

_(D

\"eah, we don’t go; we have

Right.

 
 
  

to call them and say, "l-iey\ are you done? Can we go int v

Yeah. l’m assuming that, that they wouldn’t give you p "

   
  

(unintelligible)
everything Yeah, go ahead a

at rn looking.:._a§t is going
er mechanical wiring. \/\/e

Or the furnacel to ma_l<e"'~“sure the furnace didn’t malfunction. And then
normally, the kind of things we collect are appliances or anything fail that
kind of stuff.

‘ Sure.

Photographs, video, that sort of stuff. But, you know, that’s generally what it is.
But yeah, we have to contact them

Sure.
before anytime we have any kind of an injury or a serious fire, and we know

that the fire departments involved most of ‘em are using the state
investigators when we’re out here in the rural areas, so you contact them and

say, “Hey, are you 'done? Can l_get in the scene?"
Okay.

Okay’?

Go ahead, l_inda, and sign and date it.

l do have a pen h_ere. Yeah, ‘cause l know you guys have to run, and then l
can go in and start my analysis and poking through things

Page 32 of 90 ~ Linda Stermer interview

 

ag
91

l/\i_.

KL.

l.et me hand you my card too, in case you have to, like if you can’t get me

(inaudible)
Oh, okay.'
... at work. 4

Oh, okay. And you have my card. That pho

,

always forward that Plus l thin

    
 
   
  

Okay.
And that’s it. And like l sa»idl. ,l_’ for,‘ you knew several
hours l don’t know 5" 3 maybe another half~

hour with you to finish
l’m sorry for the po z
Fardon me?

l’m sorry.
Thats and like l said, you know, normally, you know,
" lligible) But you have much more going

on with this', with the loss of your husband, it just makes so much more work.
here, and if l can’t finish today, l’ll be

So, you know,l and basicaliy,`my job is
back in the morning to do it. 30 like l said, l don’t know what your schedule is.
l’ve got several hours lf you could draw the floor plan, that’s real heipful. And

then we can go from there But like l said, l’ve got probably another haif-hour’s
worth, and then l won’t bother you anymore

Oh no. \/\iell no, no.
eople drive up and say (uninte

l\/ly daughter may be coming back for that tire today if, if you’re here while

Oh, okay. Yeah.

when she comes Um, she could also diagram a floor plan for you, if you

need one.

Oh, okay. And what was her name’?

Britney.
Oh, okay. Yeah, l’ll see `Yeah.

She`s nineteen

Page 33 of 90 - Linda Stermer interview

 

\] D
ag

J. Okay. \/‘eah, that, that might help.

l_. She could be very helpful to you. _

   
       
   
   
     
  
   

J. l have tsz p.m. l can stop ...`(end of first part of interview)

_____________-'-

t
l on it’s 21313§8. `fhisx
Str>r>r@><'~lraat€lv
este:'rld__:ay. And
:""ls Or if you

   

J. Okay, this will be a continuation of my interview
me, Linda Stermer. lt`s KBA case number 07-"’{v `
' today is V\iednesday, January the 10“: _ -
eleven a.m. And then we can just c. Y'
since you have that diagram th
need to make changes, w.e_ and h

L. Yeah.

Ll. von said that this rs

 
 
 

     
 
 

em. is,is very cu_rate. Um, the stairs were more

a tile needless '. ..

t.. ' Ah, it’s pretty the b.

over to this side, be

J. Oh okay.

L. is right here.

J. \Nell let me, let me draw it right.‘ So the stairway would’ve been
i_. On this

J. closer towards the~front.

' l_. Yea_h. `t’es.
J. And then there’s the fireplace is built in here.

l Yes. And then we had storage behind the fireplace. There's a if you make
this wall right here ' - ~

J. Oh, okay. So actually this wall kind of comes across
L_' ` veah. '

J, Our stairs are over here.

l_. ' Yes. And there’s no wall here.

Page 34 of 90 ~ Linda Stermer interview

N
/ /
g
ag
\

d . Ol/\ay. '

  
 
  
 
  
 

L. ' Um

f>\nd then this is storagel

Storage.
~\`m sorry. />\nd you are?

l/\S. l’m
This is l<ate Switt. l‘m so ryy§:_

- Oh, hi i<ate. "

This is who l’m stay` '.

Oh ol<ay tm Jim Sh"
l<.S. i\lioe to meet you.

J. Do ontmindmyd

KS». O`n

J, \t’s i<ate’?

l/\. \/up.
}\nd what’$ the
-\N»l~F~T.

last name?,

J.

l<S. Switt. 3
d how about a phone numbo.,
l can give

Um, l’ll give you myo C\T\~‘~”#elpho
mber too lt’.s

you my house n
ahold otyou itt

\lt F»T, !»\n

i_<S.
J. \Nhioh is the better one to get

l/\S. Usually my celi phone.

lt l can‘t get a hoid ot her. \/eah.

J.
KS. Yeah, my cel`r phone.

k .
Pade

35 oi' QG»L inda Stermerlnte rv

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2992 Page 37 Of 91

tl.

ks_.

Okay. And that’s 269’?
Yup.

Ah, okay. Sorry about that.

  
  
  
 

And l’m almost oornpieteiy with her all t`ne time. She w `
there was a gun cabinet here on this wall, right here

\/Vas that built in the wail’?

NO, lt’S just a freestandinQ Qun
here `

l-imm mm.
VVhich is completely oorreo_t..»~j§\\nd.
And then the oil tank~_.::_~sits outrjhere§:sorneyyhere outside the wall’?

Yes. This whole wall€

er was aeoloset, and then an alcove witn a dresser
right here_. _ ' ~

 
 
 
 

something iii<e rriet?’

Pretty muoh. Ano‘ there was a opening about four or six feet wide here, so it
was all one room.

Oh, okay.

lt, it wasn’t, you know, separated l mean, we'had a bed in here and a bed in
here, but it was all mainly one room. There was just a half-wall, or a wall half
the way down this way, and then there was a small Beoause there was a

cold air return right here.
wee trier i<inei er built in

Yes. l don’t know if you want to know where furniture was in the basement

-Furn Yeah, that’s

Okay. Urn, Cory had just moved his bed onto this wall right here.

Okay. l_et’s do this and at least square it up,

Page 36 of 90 _ Linda~$terme/' Interi/iew

0 1

long this
set right

and everything all a

ands,
m, there was a clo

d desks and st
ng there._t)

e had dressers an
furniture alo

l.. p\l'\d‘ l'l
ii kind er

` Wiieie Weii. wet e
here on this wall.

e a door to get in, o

en to the living room side.

  
  
   
  

J. i\low was ther bviously’?

 

Um, this closet was op

J. Oh, okay.

\/\/e didn’t have The only closet i~
here tor the two boys.

And the closet door’s;

L. - Rig-ht.
ld’ve wanted

And this, ot course,
dow or

g, if we wou
to put a win

 
   

\’eah. Llrn, apparen i_. ac ing<-.te `e or somethin
to make this two sepa t ;:Aedra.o‘ms, we wouid’ve had
something there. v
ess window

u‘d have had to have an egr

J. Oh yeah, yo

l g Yeah.

l so thatthey can

s».

(phone ringing)

L. ~l`msorry.
//

J. Did i turn this thing on’? `i’eah, l did~.

versation in background)
ey were just separated

end on this wall. And i

dson

(phone con
n'k beds, but th

o end»to-
i\nd there was a

had bu
o you had tw
wall right here.
the back way

'l.lm, Trenton, he just moved, he
Um, they were along this wall. S

think his 'i\/ stand was like on this
another door right here corning in

J. t Okay.
ofthis room. tim

page 37 of 90 - Linda Stermer interview

1 CaS€_22fl.2-CV-fl_A,Ofl_’?>-A.]T-DRGl ECF NO. 46-2 filed 10/31/18 PagelD.2994 Page 39 Of 91

!_._

!,._.

i\low the stairway came down this direction from

Y'eah.l ‘

 
  
  
 

like the kitchen and that above?
This, this is where we entered the stairway to go upst

Oh. okay. So it came out of, it came `l-'rom‘.t ownstairs

and went right

  
  
  
  

 

From this side
into the l`iving, into.etl’i'ft' lza`iu'r`idriy':reon‘A

Yeah~l almost exactl me`fa th

ere redd had, um, a wall
right here. ‘~ -

Oh, okay.

/-\nd there was a

     

So. this is probably a;._`.\.‘ pc"ning at this end
Yes. That was completely opened up right there

so that you can get in that hall?

Yup.

And then that gets you into the laundry and the bathroom in the.back.
Um, the Can l see your pencll? l’m sorry.

\"up.

it’s just kind of hard. Um The bathroom was actually kind of a different kind
ofa shape lt was whoops.

VVhoops.
Sorry.

Oh, that’s all Yeah (unintelligibie)

F'age 38 ot` 90 ~ Linda Stermer interview

C . age
0 1

he other way, l think. Door

And then there were

right here to the ah, it wentt
ht that went the other

athroom. The tub was right,here.

l '_There was a door
And the laundry room door was rig

right tiers to the b

shelves right here
ll turned around here

   
  
  
  
  
  
  
  

way, too. A
J. Yup.
l_. Um, the washer and dryer were along this wallhhere.
J. ‘oii, ekey. l l
‘ iphone ringing)

L' 153 gonna de that all car

J. Yeah, that’s

(pl'ione conversation in

tried to call y. j » oing and it was busy, busy, l said that’s not
w '_l,it/, iibl`l COme down the stairs this direction, and

J. That’s, l h
y. So i;b*a

surprising Oka
then ...
hallway landing there

bathroom door, and then this o
.This is a solid area’?

l.t And there’s a big
pens up. i\lcw is there any

doorway into the

way to get around ..

Oh, l’m sorry. l got this wall too wide here.

ou can go the other wa

ere. And there was a

y to get in the workroom’?

So there is space that y

’t come out all that far h door right here

l,.. \’eah. This didn

\l. Oh, okay.

That went this way, and,' um

l_.
ei. And then this is the tub.
L. This is_ all utility room. `
et . You have a tub, and then the whole thing is utility room. See, l get down in
lean up the diagram. But And so now the workroom, what kind

there, l can c

. ' ot stuft was in the workroom'?

Pade 39 cf 90 ~» Linda Stermer interview

Case 2:12- - - - -' `
cv 14013 A.JT DR|G ECF No. 46-2 filed 10/31/18 Page|D.2996 Page 41 of 91

l Um, well all Todd‘s construction tool stuff. Um, he had these big Ryobi ahl
just for Christmas l bought him another Ryobi tooi tc go with his kit. §-ie had
one of those great big huge suitcases

 
 
 
 
 
 
   
  
  
 
 
  
   

J. Yup.
l_. ` the eighteen-volt cordless.

J. Yup, l’ve got one of those in my car.
l_. And ljust got him a j`
um, hammer, um, power
table on this wall here,_f
work table And on thi 4
heater and a bladde

   

4 d:oo ay. it was :just a huge
‘ we hadta', a water

J' Okay" 30 thatwalel ll at '.\.lvel_:.system and everything is
back there’? '

  
  

l_. Yeah, ‘cause the wei ' p, um, just on the south side of. the porch is
where the well enters - ,, ment. And then there was a, a sinl<, a utility
work kind of a, big hu_g;_ viga€shtub, doubts sink there And then he had dressers
all along here that had.";tddls and, you know, electric /-`\ll, all kinds of stuff.
‘Plumbing stuff, and .‘..

J. i\low'how about, before you on the boys’ rooms, what are we talking about
walls inside’? Are they drywall’?

L. l\lo walls_inside. Urn

J.. lt’s just the cement? Or are they

l " Cory’s was still concrete along this whole wall. Trenton’s, Todd had just
finished lt was all drywall; ev,. everyone of these walis had drywall. And the

ceiling had a, um lt was really coat tie made it kind of like a shadow boxing
with one-by-si)<es. Um, he put in Styrofoam, the really thick sheets

J. Hmm mm.

‘ l_. of Styrofoam up on the ceiling, and then shadow boxed it with the one-by~
sixes to cover up all the seams. And just made a bunch of squares all over`the
ceiling, so And Trenton had carpeting. Cc)ry just had a remnant of
carpeting, l think. dust a

J. i\low in the living room/rec. room, the firepiace, of course is right at this end
here

Pa_de 40 of 90 w Linda Stermer interview

\] D
ag

\’eah.

V\/hat was on the floor in here’? ls.this carpet’?

  
  
     
   
      

le, not in this end; just in this end. This was just concrete y

And then these,‘the front wali, the wooden wall along
that probably all drywall?

Yes. Um i\lo. lt was drywalliand wocgd. l-le_

` s half-wali down at
all. But there was a
_ lk ow the whole closet
mo'st¢`of this wall here was all
this wall, l don’t remember which
tend one side was drywall, and he

that far end, the bott '
lot of i can’t tell yoi‘ e><ac .
was all tongue and g:r§d'ove walnut.--Arif" t
tongue and groove walnutAndumha
side, but one side wa""'?tongue, andgrOO _
had a deer hanging o ""`""ail there '

         
      
    
   
 

l\iow as far as lightingL id come down the stairs, are there, is there lights in

the stain/veil’?

Good golly.

l know l’m asking a bunch of nit~picky guestions, but lvionday, we’re probably
gonna be out here going through the wiring, and if you can teli me where stuff
was, it makes ita little easier to trace '

The laundry room, l had a light switch right here on this wall. ‘

ls that an overhead light?l

Um, pretty close to the washer and dryer, an overhead light.

ls that fluorescent tubes, or just the'single bulb’?

l\lo, we didn’t have any fluorescent tubesl l don’tthink, anywhere iri the house
And that was just a regular light buib?

Yeah.. Um, the bathroom, there was a set of switches right behind the'door,
kind of off to the side There was, um, three switches, l believe and then a
single switch, all on one boxt Um, a fan, an overhead light, um, a nightlight in
the overhead llght, and then a light above the vanity. '

P‘a_oe 41 of 90 - Linda Stermer interview

 

CaSe 2212-CV-14013-AJT-DRG ECF NO. 46-2 filed 10/31/18 Page|D.2998 Page 43 Of 91 '

J.

i_.

KS.

[_

. On the workroom side`=~?"

hooked up to anythiif

Okay.

Um, we had a bar of lights above the vanity. l.im, l think the downstai_rs;:_ ,
bathroom might’ve been six-buibs. One of the bathrooms was fou lbs and
one of ‘em was three bulbs. l think the downstairs bathroom wa ` ;:`ggest

one l\lo, maybe the upstairs

   
   
 
  
   
   
 
 

(inaudible)

it was_:;six, and

1

is where our power
box was, right here _ _:_

On the workroorn sid:

Okay.

Some Todd had, um, you know, run circuits to places, which we weren’t using
yet, that he didn’t put into that power box yet.

They just weren’t totally connected yet ready to go.

Right. l-le had decided on booking up a couple extra things in some places in
the house and ran everything so it’d be ready, but

Okay. l\low if we come in the workroom door, is there a light in there '?

Yeah. There was, um this was all two-by~fours back here Um, he, he had
some OSB, l think maybe on this back wall, but there was a section here that
he left empty to run another circuit if he needed, and there was a, a electric
outlet, and then there was electric light switch. Or a,` not electric, a light switch

right there 30 you had to reach around

Come in the door and reach around?

Yeah. ‘Cause there was the framing forthe door, but you had to reach back
around. l never could find that in the dark.

i\low is that an overhead light aiso?

Page 42 of 90 - Linda Sterri'ier interview

Yeah, somewhere in there, but l couldn’t tell ya exactly where And there was
a smoke detector, um, electric, l think, smoke detector

Oh, okay.

     
   
   
  
   
  
   

right in there, too. He had me pick up a contractor b \' re

building, and then he had me recently pick up another;.:
Thanksgiving time1 contractor box o'i more smoke det`f
tour packs, l guess, otthem. ~

get like

Okay F\OW Wi`th the smoke detecto
right in’? t

l think so.

   
   

 

l-low many are there -;_ ;~

emernber it he had that hooked

Um, there was one to.r_j».:our bedroom v
'§` t here. There was one tor the pantry.

up. There was one t " e ottice:ztttat

Our son’s bedroom i the l`“' _?ha‘;d'l%;one"i""i{nd l don’t know where the other ones

   
 

were.
l\low you said your so “b'edroom in
The lott.

the lott. Okay. That Okay. That’s, i was gonna ls that two rooms, or is
lt Orie?

One room. One big room.

So that`s the pantry room here.

l-lmm mm.

And then the master bedroom, and then the lott up above?

Hmm mm.

l\low is that lott, it’s all open’? You have a big cathedral ceiling and the lott is
open above’?

Y.es.

/-\nd then this

Paoe 43 of 90 - Linda Stermer interview

v Case 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOOO ` Page 45 Of'91

lL.

J.

lt was on this side, that

(uninte|ligib'le)

 
  
   
 
   
  
  

side ot the house.
(unintelligible)
Yeah.

And that’s what Britney.was sayin ' as an open section

in the wall t

 

Yeah, she did a pretty '
you said there was "

Yea.

Any others downstairs?

l think in the boys’ bedroomsl Yeah,"cause when l bought the other box, l
asked him how many more we needed so we’d have one in every single room
ot the house

l_et’s see, we did ca‘rpet, windows .;. l mean, now were there drapes on the
windows across the tront’?

l\lo.
These are all the things that l’m going to be digging across as we excavate
l\lo drapes in the basement whatsoever.

l\low when the boys leave home, do they normally leave their bedroom doors '
open?

Yeah.

VVould these interior doors basically, probably generally be open or closed?

F'ape 455 of 90 Linda Stermer interview

Case 2'12 cv
. - -14013-A.JT-D
g RG ECF N0.46-2 filed 10/31/18 Pa lD
ge .3001

Paoe 46 Or 91
They’re generally open, unless the dogs are muddy.

Okay, well let’s move upstairs This one we may have to do

 

   
    
 
  

Oh, there was a pool table in the basement
Oh, okay. Yeah.
And there was a Christmas tree.

Okay.

The Christmas tree wac

 

Real.
Yeah.'Okay.
,»'>\nd we had two chair

And then there’s a sort

timm mm. One ot the chairs is a reciiner. l don’t remember which orderthey
were in. But the T\/ was on this wall. Right, right next to the closet, there was a
entertainment center with a television An then there, the pool table was right

in the middle right here.
ok, in the member yeah

And l there were tons ot boxes ot Christmasrornaments on and beside the
pooi table, ‘cause the night betore, l was packing up some ot the stuti. You.
know, some ot the bigger stutt trom Oh, there was a china cabinet on this

wall, a big hutch.
Hmrn mm~.

And then there was a buttet on this wall here. lend a, a dart board we just got
tor Christmas hanging up right there. And then

Ano` then where was that lt looked iii<e an exercise machine’?

Paoe 45 or' 90 -» Linda Stermer interview

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18' Page|D.SOOZ Page 47 Of 91

l'(S.

€.~..

Yeah, it was, it was kind ot right behind this chair right, right here, racing this
way. Huge exercise thing we just got for Ch'ristmas. And then right here on this
wall, there was a big old hundred and some year old trunk that had all‘_my kids’
baby clothes in ‘em. ~

Okay.

And t think that’s all the furniture

    
 
 
   
  

 

Okay. l_et’s move upstairs.

lt you guys get too wz “

  

(unintelligible)

 

Yeah, like l_said, i’ve¢ _ y extra layer on. Yeah, like i said, lwas, l was fine
at 28 and sunshine, isn.t"too bad. Yesterday was miserable, ‘cause the wind
was blowing right through '

Oh yeah.

Ch: Okay. The whoops. Here. Sorry. Um, where do you want to start at?
V\/ell, let’s start with the master bedroom. Let’s just go right around l
V\/e have sliders right here. \/\/e had, um a big glass jar ot change in the
corner. l\/iy daughters senior picture collage. Um, we had a big, ah, dresser,

double dresser along that wall there. Our, um Oh. Gur it’s kind ot Our
door was right here '

Oh, okay.
instead And, and it kind or' was a
Opened up into the

Yeah. Um, the door opened into the room, to this wali here. And then you
could see our_ entire room there Yeah.

And then where was the bed l )cated?

pape 46 of 90 ~ Linda Stermer interview

Case 2:12- - - - ` f
§ cv 14013 A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.3003 Page 48 of 91

l<S.

KS.

Ano' then the bed was right here. An'd a nightstand right beside ot it, a small

one. And then a dresser right there. And then on, there was a closet door right
herel and another chest ot drawers V\lell this is a chest ot drawer l§rn
sorry, too. And then the door went through the closet this way into ` '
the master bathroom, there were shelves all along this wall her
right in the corner, there was a stand-up jewelry cabinet,,
And, um,' underneath the shelves was another chest *"

     
  
 

(inaudible)

 
  
    
  

l,had tons ot clothes l had, was 7

 

l knowl

e all,rorn after high school

l-le, he had clothes t_ § §
s. Ti;his end was all still

at least. He had tootb§a..
open ot the closet, 'btit§:vve had

comiorter, my daughter’-.s prom dress '4 ritelligible) ‘

 
 
 

jo

 

agically putin there stored in there? '

Yup. And then you come through
Um

...intothe

Come straight through, yup. And we had, um there was a tall cabinet right
here, linen cabinet, that was like, l had my toiletries in one shelt, Todd’s in
another, towels and my, some ot my jewelry, and, um The sink was
there was a space tor the garbage can, and then there was a sink, just a
single vanity there \/\/ith the overhead lights above it. And a mirror. And the

shower was in this corner, just a stand~up shower
Vl/as it a square shower?

Yup. T_he toilet was right here.

Against this wall? (unintelligible) this wall?

Um, this wall here.

Okay, l’m sorry.

Page 47 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-A.`]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.3004 Page 49 Of 91

!.__

And then a a Jacuzzi bathtub right here. There was a light switch right here,
on this wall. Um and it was again, the three with the single

Oh, okay.

 

switch.

   
   

And then you say that was the overhead light

 

You could turn it either way:.An 4 4 " he closet um, right
' " tch on both sides tor,
Oh, on each half’?
.. end.
On each halt?
Yeah, cause it was a§£: and hers. lt was supposed to the door was
supposed to be moved over so my end was bigger but he decided to make

it equal. l told him l could invade his space anyway, so. .Um

And now, how about light switches in your bedroom?

Right.next to the door, there was just a single light switch for our bed room.

And that’s an overhead light?

Hmm mm. l don’t remember it we had a light switch lt seems like Ah, l
don’t know it we had lights outside ot our slider or not.

Yeah, some otthat, that, we may still be able ‘cause that end is still up; l
can still see that Now is this the guest bathroom?

Yeah that’ s the guest bathroom. mere was a shower right in the one side
there and the toilet was on the wall, facing our closet, right there. And then the

sink was right there

dust a single vanity again?

Page 48 of 90 ~ Linda Stermer interview

Case 2:12-cv- ` - -
14013 AJT DRG ECF NO. 46-2 filed 10/31/18` Page|D.3005 Page 50 Of 91

jlt‘s a old antique wooden chair with upholstery seat T ` ' A'

Yup. And then l had a, a, a chair, a antique chair sitting there. l had a chair in

'our bedroom somewhere ln, in this area, too. Another, um, chair over there
_ somewhere _ »

  
   
 
   
  
  
  
  

ls that an upholstered chair or a wooden chair’? "
"ashi§g.n.ed kind ot

springs

 

 

Oh, okay.
that make you teel.like you’r '
The` frame and the y ii
_ti:it was all wood. »

And then the back ors

Hmm mm. And then this

  
   

This is the same', it vt oodand upholstery.

Okay. And then now ont otiice, that looks like a small bedroom.
Yeah. Um, there was a loveseat here on this wall. end l had a huge antique
bed frame just sitting on the wall by the window over here. lt was a headboard
and a tootboard, and it was kind ot curved. There were drapes on both
windows, double drapes on both windows, Um, the desk started at this corner
here and moved all the way right to the window lt was, um, there was a
cabinet with a shelt and then the desk; the computer tower was underneath
the desk, more towards that shelf right here. Um, then, ah, right next to the
desk in this direction was, um, two-drawer tile cabinet All ot it was'all the
same kind ot wood. ' '

Okay. l\low the entry.area, you come in through the tront door. This is kind ot a
big open area’?

Yes.
And then

VVe had a,§um, big huge,‘um, old walnut sideboard there that we kept like, um
i kept my horse trimming tools in there, and just, you know, just a kind ot
catchall, l guess. V\/e had mittens and gloves and hats. And then .

/-\nd then you had kind ot a hallway around both sides?

Pa_da 49 o-'” 90 ~ Linda Stermer interview

Case 2: - - - `
12 cv 14013 A.JT-DRG ECF No.-46-2 filed 10/31/18 Page|D.3006 Page 51 of 91

C.,.

Yes There wasa alight switch right he e tor Tre\/ors bedroom to go up the
stairs And then um ..Yeah just inside ot his bedroom door upstairs in the

lott, was another light switchl

   
 
    
   
 
     
  
  

Gkay.

And, um .T_h@ loftis kind or' atunky shape icould d "'”ut;oij..§__§iother

piece ot paper roi you, ii you want me to

 

Okay. Yeah, l don’t know, ‘cause that’,s,,;that s ihanging there
Okay. ii y l h n z
T`nat part ot it is still the
‘Cause this end, above this Lho’le _
whole bedroom up here Hl be '
down there v
Okay, so the lott ran
i:rorn, trom the wall t'_`h:a_:,thfe"tireplace, all the way above the doors
Oh, okay. t l l
The whole

So the hallways and that, this is all, has a ls this an eight~ioot ceiling in
there probabiy?_

' Hmm mm.

Oka ay So l see So when you go up in the lott, the whole tront section is part ot
the iott’?

Yes.
Ah, okay. Well that makes sense
And when you go up the stairs, you could either turn towards the living room

and look down into the living room there And we had some storage right
there Or you could turn back the othe way and go through a wood door into

his bedroom

Okay. V\/el’l maybe, maybe l will have you draw that up. So that it rnakes,
makes better sense

Page 50 of 90 - Linda Stermer lnten/lew

 

ag

/C."

`\.'»_) .

l\/ia_kes sense

Yeah ..i (inaudible) Put your artwork to

  
 
     
  
 
 
   
     
 

i think,.l think it, it was like eighteen ieet long, but l‘m not sure h g
doors are right here, and his room The this who'le,'_are;'v `
turnace ductwork. Urn ' '

Ali the tor the tireplace vents and
Fireplace l think there were three
Okay.

Seerns like One tor
that’s right Um Tliie
So he had a lookout ii
or 3@, maybe a 36~ino
antique trame, six too

<,,

it might be the um

Someone’s here ...

That‘s the tire chiet.
Oh, okay.
in the red truck there?

\"u p .

- Yeah, he’s,'he’s looking tor me

Oh, okay;
i-ie’s trying to
(inaudibie)

This was a closet, but we had a, kind ot a opening back here so we couid. get
into this storage area

Okay.

F'age 51 01“90 ~ Linda Stermer interview

 

 

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PagelD.S`OOS Page 53 Of 91

!,_.

!__.

And that, above the steinway, then there was a ceiling, so that we could put
more storage up above in there l_ike holiday stuff all went up abovet he

stairway.

 
  
  
  

And that would ve been above the stairway from downstairs a 4 h,e;€jéloft
area? _.

Um, it was above the stairway in Trevor’s roon

Oh, okay.

 

tim yeah there was The there was gu1te a bit of Halloween stuff 1n there
and and probably Easter . -4-4

can"you see the three pipes, or are they

 

 

Yes.

.. enclosed?
l\io.

Oh, okay So

There was metal flashing on the floors for each. .. E\/ery one of the floors had
storage behind the fireplaces Butthere was a metal flashing and nothing was
on the metal flashing at al.l lt was all, you know, to the ends And i don" t
remember, one fireplac e was this side and one fireplace was that side l don’t
remember if it was the basement one which one went which~way. They were
Todd made ‘em so that there could be a fireplace box right next to each of
them, but one was offset one way and one was offset the other way. And Trev,

'Trevor had tons of boxes of school, old school papers,` and pictures, and

books, and magazines
The collection that we all have

Yeah l\/ly horse magazines, they complain profusely about ,L\ few of Todd’s
hunting magazines l allowed him to keep.

Yeah, l’ve gotten to the point l read ‘em and throw ‘em away.

Page 52 of 90 - l./'no'a Stermer inten//'er/r'

Case 2:12-cv- - -
14013 A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.3009 Page 54 of 91

l<o. l-lmm mm.

l_et‘s get rid of ‘em. Othen/vise they just keep piling.

C._

KS. (unintelllglble)
l_. Yup.

J.- l_iving room?

   
   

 

Li - Okay, the sofa was right along the--'

J. And that was out in the lit-t

.\.~..,

l_. The alcove.
J. ' that stuck out.
L. Yeah.

J. Yup. lviaking a wall the _ o;it'hatrriakes sense And then the recllner~was in
here a little farther? -

l_. The, there was a chair sitting right a small wooden kitchen chair right there
For Todd’s T\/ tray for his food, i guess. Popoorn and remote control And
then the chair was offset more over a little bit. Th_e recliner.

J. Something like that? l\/loved out a little bit farther?
l_. Yeah.
J. Yeah. And see, that’s what Brltney said, “l think there was a chair over here

that somebody sat in and broke.”
i_. That, that was the chair that moved to my t)edroorn.

J. Okay. \Nell that’s what she said. Yeah. She goes, "V\/ell the last time l was

here

l_. V\/ell itwasn’t ever supposed to go in the living room for all the publio. lt was
my chair. '

J. Fireplace, of course against the

L. Yes.

Page 53 of 90 - l_/'no‘a Stermer interview

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PagelD.SOlO ' Page 55 Of 91

J. where the building for the loft is. T\/ a ainst your master bedroom wali.

  
     
   
     

And you said there was two of D0 you rem;
positioned? l mean, just evenly Spacquso th.,
Um., one was closer to Todd’$ Ch_@j;p " ~' ~ ..

The candle was on §

 
  
 
   

.. Oh, over here

  
  

. . § ~ ij ;`_-.‘ '
§§ e` bill-stat hat ngpr__nxing. V\/e had a table right here in the
a oir`.ts"etti;-a§§'_.';. orfij'iit. Ahd we had a bid dining room table here

 

corner that

 

 

J. l<ind of a big o\ral, bvtheway you’re drawing it?

l_. Yeah. And, um, we had a ..1

l J. Then there’s a slider here

l_. Yup. And a slider on that right here in the corner, we had a_baker’s rack.
KS, Your mom.
J. (uninte/ligib/e)
1_. Hi 11/10}11.
U. l didn ’t'get contacts
L. Oh, they didn’t have ‘em?
U. They.had tem, but they weren’t paid f01'.

l_, l thought Todd said that he paid for "em. Ol<aj/. ,¢l/right, !’l/ go in later and
get ’em then. You wanna sit in here? '

U. Yeah, l can come around ('inaudih/e)

l-"age 54 of 90 ~ Linda Stermer lnten/iew

Case 2:12-cv- -
14013 A.JT-DRG ECF No. 46-2 filed 10/31/18 PagelD 3011

F’aQe 56 or 91

l/l/ell, l can move over. This door is (inaudible)

  

i_.

J. l’m gonna turn, turn the heat down a little bit more.'
l_. l-lere. Thls is .my mother.

J. Yup. i~ii. l mather yesterday

 
  
  
 

L- Oh. Oi<ay.
J. /, lcame in. She Came m and

L. oh. watchdog near

 

J. Yeah.

 

u, sizes got a british Or;rp@'s.@_; 1
This bar was connected.. There was a~::_ ":"usan in the corner, and all
cupboards. This was~za`li.on"e;-gpie:_ce._.

 

 
   

So this is a big, big coj1 op, with a bar. And l think you said there were
yesterday, there were§cabinets underneath the whole thing?

\/eah, on the kitchen side were the doors. And there were bar stools, four of
them. Three on this side and one at the end, usually. And, um, the phone was
right here There were light switches down there There was 'a, a double and a
single iinaudible) There was two sets of light switches right here Cine
was for the dining room, and above the bar, there was recessed lights Two
recessed lightsl And there was a single central light in the dining room. And
one of the switches was for the outside of the slider, but that wasn’t hooked up
yet.' He had put the light outside there The sink had a switch beside of it
‘cause there was a recessed light above the sink, And then there was, um, a
garbage disposal switch,' too. there was, um, four electric outlets on each side

of the sink. Ah, one

So you had lots of counter space with plugs that actually worked.

Tons of counter space Tons of cupboard space The stove had a outlet on
each side of the stove. A single outlet, l guess V\/ith just a Above the stove
was a microwave and above the microwave was a small, short cupboard for

cookbooks and »stuff.

Page 55 of 90 - Linda Stermer lnien/ievv

CaSe 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOlZ Page 57 Of 91`

J. Ol<ay. t\lo.w, as far as~the rest ot- the furnishing and stuff in the living room,
there was the recliner; T\/ was over here V\/as there a sofa against the front’?
How about light switches and stuff in the living room? Di_d you have the

overhead lights or ceiling tan, or anything’?

    
 
 
  
  
  

   

'L. ln the cathedral ceiling, there was a Ceiling tan lightl kind.,.ot§'a;

J. Oh, one of those that hung down? d l

l_. Yeah.

J. And where was the control tor that’?

L. The switch was right "% light‘... there was,

tchen there, there
chen. And then

um there was a b
was two switches, o
above and below, we're:--.like“';=

J; l-lmm mm.

'.~.».

, ct switches One to'.d'jr.`§fri:the lights and one to turn the tan higher and lower.

tit Okay, l think that Lj_et-'~"me go back to That’s not the one i\low when you
came up the stairs, you would’ve been come You were downl when you
were coming up;the stairs after you heard Todd screaming, you would’\/e
come up the'stairs this way?

l_. \.’eah. l came right up and t ran around this side here

J. ` So through the kitchen and around. How tar into the living room did you get?
l_. ljust got right, um, in between the tireplace and somewhere in here

J. Okay. And then that’s basically between Just, `ust inside the'door opening

And then yesterday you said ¢. , . ¢ , or see that rir =..s like from the_
ma'$tt b‘”° =i the recliner. That, that halt "

l_ z `l'he recliner was all on tire, and there was a big bunch ot tire right by ou.
bedroom door. And l could see Todd’s

J- Ol<ay. 30 he was actually over by the bedroom door’?

l . Closerto the bedroom door.4 Kind of l don’t l<now. Kind of in between our
bedroom door and the tireplace. Kind of l don’t know, somewhere in
between, like in here.‘ But l could see tire all the Way back to l mean, it was

just

` , " 77 ~ D"_':. .. t "Linda Stermer_lrrten/iew

'O _' \\
\\§Q§_/Qj

ag

J.

Y‘

C__.

‘."

C__

\’_..

\/\/ as he coming towards you? Toward, out

l couldn’t tell.

Now, l know, l realize this is difficult, but when you saw't’ne tlarn‘es he
recliner, could you still see the chair’? »-

 
  
  
   

t.don’t remember.
Or was it just a big ball ot ttames'?

l just kind of glanced. l just kind

 
      
  
   
  

blow about tire `in bet die ro: m on tire'§"Or did it

look like a concentra

rt looked iir<`o o bono

 

By the recliner.

And then there wasn:;t i`uch fire between And¢ then there was a lot ot'tire over

_ here

And then when you took oft, you just went out the front door’?

(inaudible)

Okay. T-hen when you went out the front door, you said, yesterday you talked
about, said you ran out to the van. V\/here was the van parked at_?

Parked right in front of the house l mean we drove right up to T'ne
contractors made a mistake They weren’t supposed to carry the driveway as
far up as they did. So we took advantage ot it.

So you’d pull right up by the tro_nt porch there’?

Yeah.

t\iow what were you wearing’? l mean did you have clothes on? Or stilt in your
jammies from

i\lo, l had on some urn pants and a sweater.

Now did you have keys tor the van with ya’?

Paoe 57 of 90 ~ Linda Stermer interview

 

CaSe 2212-CV-14013-A.]T-DRG ~ECF NO. 46-2 filed 10/31/18 Page|D.SOJA Page 59 Of 91

t

\/\/e always leave

(phone conversation in background)

L.

§.._

!_...

v boys had my vehicle And so when the boys were taki

    
   
 

. _ sys
ch`e'n'; 'B ut the

t .o_‘§fr§rir:)rning, i

just took my purse and threw it over into the va_n..:But -_`_:d:d' alwaystk:'ept the
keys in l always (inaudible) about 'tha"`t~’t.ljt-`hated;.;it`.

  

V\/e leave our billfold and our keys in the vehicles l don’t,v but_,‘
does. l always bring mine in and put ‘em in the drawer int

zwen_t‘.ito"§the van§,_'fyou were

Okay. /-\nd then yesterday you explaji§i"ted that'if v
' ‘ 4 drive’_?.` ou werej;‘p:_arked in

gonna try to go get help. And then ’e'r;§- dr
front of the house .' ._;._-_;_ k

   
 

 

     

   
 
 

 

 

Okay. Up by the frontA thehouse or was ’ne all the way around the side?

He was, herwas closer to the tront. Towards that rock pile

Okay. And then what happened?

t pulled the van up real quick and jumped out. And was screaming at him to
iay down, And he was trying to get his, urn pants ott. And l kept trying to~get

up and reach and grab him, his pants. And he just wouldn’t stay still.

Okay. And then from the 4

And then he laid down And t iooked at him and l thought oh my Gsod, l gotta
get him help. So l went to get back inthe van, and t tried to back up, but i
couldn’t back up ‘cause this is too muddy. And so l thought if l pulled down
here real fast And l couldn’t see Todd when lrbacked up. And, um, l pulled
down here, ‘cause l was gonna try and back up to get a running start, and

l couldn’t. And so l jumped back out and ran to Todd, and he was, he was
taying right in here someptace And l just laid on him and

And your, your idea was to back up down to the, the ttats here and then try to
get a running start up the hill?

\/Vell we usually could if we got right in here ‘cause it’s all sandy and we could

.Da_oe 58 of 90 - Linda Stermer interview

 

CaSe 2212-CV-14013_-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOlB Page 60 Of 91

U_.

J.

KS.

KS.

_C..~

KS.

Bacl< around

l-lmm mm. Back, just take and kind of zoom up the, the slippery hill?

But l wasn’t thinking l mean, with my Blazer, l can do it. With @§o"'f car with

the van, it`s kind of like our pickup truck was. lt’s just so h \*r"/‘

    
   
  
 

ls it a full-size van or

eenmy
ltaid on Todd,
till breathing and

Big conversion van. !~\t some point my._r.!jeighb""
neighbors And t’m screaming at thel t_-_o calls;‘_u__ c
an_d l’m trying to keep his airway-jo n:_.‘}i`cou.l'd_;éte.l_l

 

V\/hich neighbors wer._.'e'.tha:t? 4 _ -'1 1

t.

 

I\/iousalli.
Do you know’?

i\/iousalli.

 

i\io, l\/iathenys.`
Oh, okay.
V\/'ere here first
Oh, l’m sorry.

l don’t know when Mousalli got here
l\Aousallis were here betore'i\/tathenys.
l know he’s told me he was here first

According to what, that’s according to what‘i was told by them.

‘ V\/`nat ts the last name?

i-ie said he tried to resuscitate him.
Mousalli. i\/l~O-U

Yeah, but l\/iike was already here calling

F'aoe 59 of 90 - Linda Stermer interview

 

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.3016 Page 61 Of 91

KS.

Yeah. And then idatheny, M~A~T-l-i-E~N~Y, is on the other sid

S~A-l.-L~t.

And they’re to the north’?

   
 
 
         

bringing blankets over. He came running across with bia k

 

No.

V\/eli that’s what`...
Connie had her coat
Oh. V\/ell they thoughtf
Oh. '
while he was'trying;"to .. §
ii ii lyi:::'..up':i"and then you said you saw Todd come

iou§£h§d to jump'back in the van and try to get out,
~.z=.t/\ias atter you got back in’?

i\iow when you were vi
out, and then he laid
that’s when you got st

The insurance guy’s :~.`:§.;.i.(inaudibie) so
V\/eli he told me noon.

Yup.

He told, he told me that

He just called and said he was running late
Gh. Okay.

Oh

Oh, he, i thought you meant he’s waiting here
i\io. '

and l‘m' holding him up. .L\nd l thought
Oh no, he’s

l can’t be holding him up, l’m not even

-'~"EI_C.'¢‘ 60 O!',Q(? ~ l ind.e Str-)."n'i_e" inten/iev<.:'

 

L_..

\/\/e’re all here doing the same thing. Yeah. He has to wait his turn. i\iow going
back to in the home that mornin_g, when, and looking at, reviewing some ot the
stuff last night, l think i have most of the day’s events You talked abo_ut;~.the
towel that you were trying to launder that smelled like oil or tuel. Whe're -.was
that towel at when you first discovered it and that it was smelly:;?< ' -

 

   
   
 
  
 
  

itwas on the iaundry room tloor. And l, um
there was some ciean clothes, um, and partly _.j
getting mad, ‘cause l thought why, why is itl

And then you tried to wash that?_,

\’eah.

And where’s that tow sher?

    
 
  

 

oath t_§mom . iri owiroh§o‘ it sur orton

Um, either the washer;;§or th lrdry __ h
' " `:red clothes in to wash. So

ran it through once then i stuc ,5

  
 

V\iher_i you’ve got tha an boys you";‘:you have pienty of iaundry.

 

The laundry never stops

 

Right.
Yup. i\iow is the dryer eiectric?
‘r’ea`n.

And then you were downstairs prior to discovering the tire Yesterday you
talked about how that you were downstairs, and that

'Yeah, l was in the laundry room.

And that you guys You were in the taundry room when you heard Todd start
screaming’? '

Yeah. Prior to that, l mean, l was back ..1 Oh, in the living room in the
basement there was a big huge game tabie, too. ‘Cause l was tolding laundry
on that table

(inaudible`j that big pool table

\/eah. l got that, but l forgot'about the pokertabie.

.Dade c’)"f of 90 -~ Linda Stermer interview

vCase 2212-CV-14OJ_3-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOlS Page 63 Of 91

f

v.i.

U.

'i_,

-i\low you had said yesterday you guys had been arguing, that he had been

yelling at you._ And then the yelling turned to screaming \/Vas it 'ne stopped
yelling? V\/as there.a pause? » ' -

 

Yeah, he just stopped yelling. And then, l don’t know, just

 
  
    
      
   
   
 
  
  
 

Fo_r how long? l mean, was it l mean, just

 

Just, just a couple of sentences, and then, an~'d`.z‘then ind then a-‘p'ause, and

then a scream.
` e'an when::h"e first
ut?” l meanj!~"i mean, l
i_ ing at, trying to

Could you understand anything§_t
started screaming \/\/a her elli:

know these are kind
reconstruct You’v re was located And

l’m looking at timetr . _ ' j iu l<no\l\/», from

wherever it started i , ; j `trame;;is an important tactor.
He told rne nobody
But that obviously was et his?'controliing, his nature ct trying to control you.

Oh yeah.

iCri/insl

(uninteliigible conversation)

J.

U.

!._

Oh, here’s some, looks like some napkins.
Napkins.v lt`s better than

There we go. i-low long had you been downstairs doing laundry and stutt
before you heard, one, the yelling stop, and him start screaming? ‘Cause l
know you said you"d been down and got the boys and did laundry, and been
up and down a couple times. The last time you went down, about how long
was it were you in the basement before the screaming and the tire was
discovered?

About a halt an hour,

l don’t \now. l folded l don’t even remember vvhat.l exactly, toided laundry i‘
went down, l l don’t know, l wasjust kind ot puttering around down there,
trying to avoid l used the bathroom Um, l checked the laundry l don’t
know, maybe »

Pagre 62 of 90 -- Linda Stermer interview

 

Case 2:12-c - - - l `
v 14013 A.JT DRG ECF No. 46-2 filed 10/31/18 Page|D.3019 Page‘64 of 91

Twenty minutes’?

i\/laybe around fifteen or twentyl l don‘t, l don’t think it was a halt-hour, l.-.don’t

Arid

  
 

lt you used the bathroom and checked the laundry " y

Yeah. And theri,‘ and this would‘ve been atte ‘o. had:§ 1 Youhao talked

about you were reading

 
 
 
  
     
  
  
  
 

 

night

 

.ti'l@ bGOi€ Wi'ifi'i the in U_U

 

VVell and then l took a nab V\/he_¢ was~;.rs, rig that booklet and igot
Todd something to drink And l went dow k"a_nd. l don’,tknow it may have
been longer. l know ljs `ut some i`nore Christrnas decorations away, at some

point down there.

 

 

i\iow it he‘s up movin:' _\ ind upstairs, can you hear him downstairs? l mean,

l realize
Oh yeah.
.. it’s a new house. You can hear
Yeah.
.. you know, the floor creaking, and
‘Cause we didn’t have any ceiling in the living room yet, And l he was -...
ln the family room, you mea .
Yeah.
Yup, the downstairs
The basement.
Yup.

l m sorry Um, he was in our bedroom. l heard him use the bathroom. ‘Cause l
could he ar the water up theie

Page 63 of 90 ~ Linda Stermer interview

 

Case 2 32 CV WO:LS --A`]T DRG ECF NO 46 §§ _\/fg§dW]é?ég til-C/)Wi‘l lth|;i'g?h|?$ §EOS%O i`OU g,g§€?(§i"?f 91

l_.

J.

/neri ne was yelling at you wni
the tire could you tell ir' he was walking around’? l mean was the voice

changing like he was moving around upstairs? Or was hejust kind or',_y.ou

know, sitting in the recliner yelling.?

    
   

i couldn’ t teli i mean the doorway to the stairs was open.:
him kind ot walking um, kind ot overhead ot the laund

  
   

ls there anything tha
the tiving room, that

  

Yeah, he put plenty ot}outlets in all the way around

Oh yeah, we made sure. ‘Cause we’ve lived in some houses that did not have
.. Oh gosh.

(inaudible)
Um

l\lothing plugged in around that corner?

(inaudibie conversation in background)

L.

l don’t remember it the lamp'was over there still, or We had a lamp, a, just a
floor lamp, and sometimes we had it over in that corner. l think it was over

closer to the tireplace though.

i L~iave you ever had any problems with the tireplace’? i\iow it s a wood burning

` tirepiace?

Yeah.

And is there a giass on the riorit, orthe reen’?

Pa_oie 64 of 90 ~ Linda Stermer /ntervi'evv

 

ag

i\lo, There’s just a screen. You know, pulis.

Oh, okay. \/up.
VVe went to try and get glass tor it, and l tound out we had to_ spedi» `*‘}l;§;.e'r.der
‘cause it was a oddball size or something. And f

l.\

  
   
  

(lnaudible)

You ever had any problems with No,yy
\/\lith the tireplace upstairs, is th one hf"`e
something?

  
  
  
   
   
 

’ ¢i, in twa airtight at the

There was tlas'ning s "
.§iinen closet t)m,

base ot the stairs in y 5 _;
right, there was a w 4 trtis"was all just a linen

closet And under and th‘e.i€e\:iv ank §`an sheets from ceiling to about
knee-high. And then fartderiteathl;wa .. e that we were gonna put in,
um, on the floor in iron ":_ot both t ` `ut there was just metal tlashlng on

the tloor.

  

  
 

Okay. dust metal tlashingwhere the hearth should go?
Yes,

And then no carpet on that area?
i\lo.

Okay. And

The carpet in the basement was a couple teet out, but there was no tire in the
basement

\/up.
The tire was in the upstairs living room.

Yup. And then basically, did you have the same metal tlashing around’? So
you haven’t had any problems with logs rolling out ot the tireplace’? i\loth`ing

like that_betore’?

.l\lever a log rolling out, ‘cause we `nad a nice grate in both ot them. But we’ve
had peppers every now and then. But not, l mean like it you don’t close those

screens sometimesz but nothing

Page 65 ot 90 »- Linda Stermer interview

 

CaSe 2212-CV-14013-AJT-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOZZ Page 67 Of 91

J.

How about over by the master bedroom’? You said that when he was over
there, there was a lot of fire there Do you use any space heaters’? Electric,
portable heaters?

   
  
 
  
 
    
 

\/\/e used to, V\!e used to have, ah, kerosene heaters up there oz h
when we were, you know, first working on it and that. t,lm, "

Oh, when you were building?
Yeah.
But you didn’t have it now.

But we didn’t have ..
mean we didn’t

l-i_ow long’s it been s
Oh, since last winter

So that was more du ibuiidi`ng stages’?
Yeah. V\/ell, andl andr.-‘-,as't:year\, too. He hadn’t blown insulation into the attic, so
it didn’t heat as good: So we used, you know, the space heaters. And we had
a couple ceramic space heaters. in fact, we still kept ‘em. ln our bedroom,.
there was a tall ceramic stand heater, um, that would, you know, turn. And that
was right inside our bedroom door. And then one in the bathroom, too. dust a

=small square one. ‘Cause l liked it really warm when l took a shower.

(inaudible) doesn’t like to be cold (inaudible)

lt was yesterday she was standing out here just shaking, and~... So l saidz "l
think we need to sit in the car." .

\/\/eli she’s been shaking quite a bit anyway

Yeah. \/Vell it was cold and the wind was blowing

l~lmrn mmi

and we were out for a while. l-lave you had any i_et’s see, some of these

here we’ve already done. Do you know who it was that actually called 91 'l ? lt
was, obviously, one of the neighbors

Page 66 of 90 ~ Linda Stermer interview

\]
g

U.

One ot the Mathenys, l’m sure. 'i‘hose are the only people l remember seeing
\/\Ihen l was laying on Todd, that’s when l\/lr. l\/lousalli came up. And he

announced something about being a trained medic. And he told me hey/told me
his name, but l don’t remember hearing. l just remember hearing ~that»il':’;m a
trained medic. And then l '

     
  
 
    
 

 

l'le’s a dentist in Dowagiac.
l\lo, Decatur.

Or Decatur.

Oh, Decatur. l\low as far s .lights:i'-;o' d.’ve~§b'een on’?

i deh’t ihihi< there eh§ " ee' &n _

Yeah, it was the daytj .

v retty good about He’s always

the middle er the<;t
" e the room

harping at the kids, “

 

rum the iiehi eii.
\/up. General condition of the structure’? Basically, everything was
lt was beautiful.

three years old?

lt was just gorgeous.

l\lo ..._You didn’t smell any odors, nothing unusual?

V\/ell l did. l told him the house stunl»:. And l asked him what that smell was,

' when die you ieii him then

Um, in the morning sometime ;/-\nd, ah, when he told me about the towel in the
laundry room, to wash that. ‘Cause, um, at some point, he had bled that
furnace through, and he said he wiped up

And l think you said that the iurnace, he did that on Saturday’?
Yeah.

So Todd told you that the towel was down there’?

Page 67 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.3024 Page 69 Of 91

L.

 
     

Didri’t Trenton smell something?

Yeah.

Okay.

 

 

(unintelligible)

upstairs?

r-4 "

-i_ore"downstairs.

`r'eah. But not as muo";' up.stai':irs._.;',h

   

And then

So l figured that made sense, that if l just washed the dang towel, that
problem solved.

And then electricity, ot oourse, was on at the time. You don’t
Ah '

have any gas?

Mm mm, no,

Arid riow, have you had any problems with any ot the wiring since you built the
house? Tripping breakers? Plugs that you plug in and nothing happens?

l\lo. l-le made sure everything was on plenty ot clrcuits. 'l`hat’s why he hooked
up a different circuit box for all the outside electricity for the horses, so that
‘cause h`e said you can only put so much on a circuit, and you can only put so
many Circuits in a bo)<. '

l-lmrn mm.

Paoe 68 of 90 - Linda Stermer /m‘en//`ew

 

Case 2'12-cv 14 A T R F 4 P
n - O - -
13 .J D G EC No. 6-2 filed 10/31/18 agelD 3

025 F’aQe 70 of 91
kind ot problems \/tie’ve had that
e blow dryer in the

l_. ` />ind so he didn’t want to have any ot'those
where you can‘t run the microwave in the kitchen and th

bathroom at the same time, so

 
  
 
 
 
 
  
     
 
  
 

(inaudible conversation in background)

L. he was really, really good about that.

J. Problems

l_. This pantry had tons and tons ot st_ "
paperwork and clothes that l weis u
groceries. \/\/e had a pan hen n
some wallboard, and ` '

J. Alri'ght. How about pro err-is Y;

you have to bleed the.§libes§ib.ecaus.

    

l_. Yeaht
J. Um ..`.
l_. l’m not sure it it was . au'se oi‘ the air. l know that To'dd had said that that might

have been one ot the problems ’Cause the way the, the copper tubing is
supposed to come down inside ot the tank, and he said that the guy was a real
ding~a-ling that did it the tirst time around. And so, somebody from Bangor. So
he had somebody else come out and E'iut l have One winter, we had
them come out like six times just, just7 um, trom Fleetwoods. Arid then he had
to calt 'Fields a couple ot times, and then'he tigured it out himseit how to

J. And l take it You say it’s Fields’?

l_. Yes.
J. is that a heating company here in
l_. Yeah, it‘s right here in Lawrence. l:ieids ljlumbing and Heatirig.

l_l. Fields Plumbing and ‘rleating. lt’s right here in l_awrence.

J. V\!hen Now as tar as you know, Saturday, he said he had to bleed the
turnace?
i_. Yeah.

About how otten this year, we’ll say this winter

C._,_

Page 69 of 90 - Linda Stermer lriten/iew

Case 2212-CV-14013-AJT-DRG ECF NO. 46-2 filed 10/31/18 PagelD.3026 Page~?l Of 91

   
 

l_. ' VVe haven’t used the heat-hardly at all this winter. Um, we had
U. (inaudible) tireplaces.
L_. Yeah. And, and it’s been so warm. So it doesn’t kick on much " thi-ihim

putting the insulation in the attic this l don’t even remem`b
this spring or summer, but itjust

J. Arid normally, with the furnace, it you have a problem

L. No, it, it would blow cold air.

 
  
      

 

:'x':a_'fuse it _was
U. ‘ Cold. She’s cold anyiitl_iays. §§i~j'.

L. Todd runihreiiigibi"":"'?'~’

 
  

J. Okay. Portable heat _`s`;; e already did that. l\low, when you were using the
kerosene heaters in the..__'.o.tise, would you retuel them inside or outside?

'L. ..» we heci e eipi`ieh ihing.
J. Oh, one of the plastic tube with a squeeze bulb’?
(inaudil:)le) 'And you can look in the shed, it you like. They might be in there.

They‘re the kind that have the metal round base. l think one of ‘ern was rusted
otf, so we threw that one away. l\lot the heater, but the base.

.!-.-

J. l Any problems with the water heater?
l_. Never. E)<cept Cory used too much hot water.

J. l\low the candies burning We talked about the small oil lampe on the halt- _
wall, and then the candle that was on the bar »

L. Bar.

J._ And that would’ve been it?
i_. Yeah.

J. blow about smokers?

Page 70 of 90 ~ Linda Stermer /nter\/iew

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PegelD.3027 Page 72 Of 91

l_.
U.

(unintelligible conversation in background)

J.

|_.

U.

l\lo. l\lot ever in the house. i\Ay mom can’t even smoke in our house

Yea'h, l got banished to the yard.

 
 
 

i\iow who’s the smoker? is Todd a smoker?

Ah, no, never really. He just, occasionally, if bel-event hunting with iall‘fthe guys,
he’d have a "

(unintelligible)
Oh what do you call it-
You don’t think smoking”s aji;`:au“s'e z l l
l\lo, definitely not. \/\/edon’tevenownanyashtrays

i\iow upstairs, would the inside d:ooirs, bedroom doors, would they have been
open or closed? " "

 

Um, l keep the bedro:o,!i'doors closed all the time.

i\iow is that the master bedroom?

Master bedroom. The office door, l try to keep it closed most of the tim'e. Um
the guest bathroom always open. l_he basement door always open. Un'less

the dogs are being naughty and won’t listen to me and stay downstairs. And
the pantry door, always closed.

i\iow is there a stair wall, or a doorway for the stairs going up to the iott’./‘ Or is
thatjust an open stairweil? ~

dust an open stairweli.

i\iow we talked about smoke detectors How many would you say there were?
VVe ended up with VVhat’d we end up with, four or five, at least, on the list?

That seems about rlght.

Somew'riere in my notes here l’ve got

- VVe-re they all working'./`

The master bedroom

Page 71 of 90 - Linda Stermer lnterview

`CeSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PegelD.SOZS Page 73 Of.91

l_.

~ i\iow did you have as `:o_

(iriaudible) lthink so. The ones that were hooked up, l’m pretty sure were

» all working

Yup. That was master bedroom, office, pantry, the

  
  
  
 
    

But l didn’t hear it.

l was outside of the hous
heard that kind of a nl “

Yeah.
Where was that one :

in the basement Tha` _ 3 the one in the utility room, near the furnace

 

VVas that smoke and CO?
Everything. That was an expensive one.

lave any problems with any of the appliances not working’? Stove, _
refrigerator, anything? ‘
VVell we just had a service person from Benton Harbor or St. doe come out,
‘cause there was a problem with the washer dial; there was a problem with the
dryer, wasn’t working at all; the microwave, we were, we blew a fuse and so
they came out and did all three appliances all the same day. l_ike l\lovember or

December. So everything was all you know, they serviced ‘em, and
everything was just perfect

And what was wrong with the dryer?
Um, it wouldn’t turn. The

Drum.

Thank'you. \/\/ouldn’t Yeah.

The motor, motor would run and it wouldn’t tumble'?

Page 72 of 90 ~ Linda Stermer /ntervievi/

v\ l

.\!\le did have a prob
Ah, the bottom

d the water heater,
brut:he’d

   
  
 
  
  
  
  
  
  
 
 
  
 

l_. Right. An
the water heater, tie had to replace ond
elementl l'ie' said maybe he should’ve replaced the top element too,
wait on that, But he had flushed the water heater l guess you’ re s,up:p_fc-`)`:sed to
so ' ,

do that sometimes

id up. \/\lith the miriera
rid they’il

ls in hard water, t

\{eah, they bui
they burn out, a

l_. Yeah.
J. go through three or four bottdms:to; _ v
\’eah. l'le said it was-j ii k l ` ’t tl‘iought:of flushing
d it, and when he
laced that,

it in a while. So he
flushed it and it gotti . So he rep

And now no problem

J.
`l_. ' l\lope. .
J. You hadn’t been dolan ' ' `finishing, refinlshing, woodworkan up in the living
room area there. whe;`re the fire was at’? '
hat makes, um,

re were lots of

_ d sealants, and, you, adhesive , , um, several tubes of
that different places arou ' e.. Um, l know in the, behind the fireplace
in the main fioor, there was probably of that stuff. l\lot from
my work, but from, um, the hardware store. d used that to put,

~ to glue the, um, tongue and groove.

l_. No, but the
caulking an

tairs. So every stair

. Jl l-imm mm.
eaky st

L. All the, um Todd was really picky about no sdu

tread ...

all the drywall was
o'or .was ali glued

And, you know, every now
` d, so they tell
le, so l

J. l~lmm mm. _
4 ed down. And, and

make a batch that gets paci c
rid Todd does handiwork for other peop
So l’d just bring him home

and theri, we’ll
take lt home A
, ‘Cause l, ‘cause l couldn’t carry a

ya you can just

figured it`d always come iri handy someplace.
buckets‘of it, and buckets of tubes
five-gallon bucket of that stuff

lnten/iew

Page 73 or' 90 - Linda Stermer

CeSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 PegelD.SOSO Pege 75 Of 91

'J.

l_.

~ if lie had filled it up. U ‘ .,
~o,ut, he didn’t alwaysl , " "" .; `tj© ;'e tank. Sometimes

Basement

\~"eah. l\low as far as
(unintelligible)

any flammable liquids stored inside, inside the house Any as line,
kerosene? l think you mentioned that with the oil lamps '

oil?

     
 
  
  
  
 
   
  

 

Yeah.
V\/here would that have been stored~'f `
Um, underneath the sink.; ;‘§‘ _; _ ; , in our bedroom,

' ‘» ' ightstand‘,` you know,
there’d be a two~liter.’§ j

set ther Weiiici he ierr~§i§i~»rhe

furnace room?

furnace room, yeah. Um

l\low when he bleeds it out normally, is that it? l-le just bleeds lt into a bottle.or
something? ,

Yup.

And, of course, it always spills a little bit.

Aiways.

The nature, the nature of oll,

l-le’s ruined so many of my good towelsthat way. The washcloths 4
They always just grab the first rag. v

l-le never could just grab a rag.

Grab the first one they see, of course

That’s not just.'i‘odd, E)<cuse me, sir, but it’sall men.

Page 74 of 90 7 Linda Stermer lm‘erview

CeSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Pagelb.3031

  
  
 
  

 

 

 

   
  

Page 76 of 91

J. Oh.

l_. l didn’t want to say men.

U. l did lt was males.

J. V\/eil

l_. l’d reach'for paper towels or something you

U. Yeah.

i_. can throw away. _.

U. Or one of their work s

i_. Or something you wantto g§ef_t`irld.:p,f Qf_ v `e- Q_loset_;

U. E>:actiy. l d § 1 l z

u‘_ l\lo conflicts with any=:: :oi‘s’i’::‘:l""i<novi./ you

l_. Oh no, v

J. and Todd had been, had been going through quite a time, but no problems
with neighbors or family members’?

i_. ' he

J. Anybody make any threats to you’? l mean other

l_. l\lo.

J. other than the stuff we talked about yesterday with`Todd?

l_. i\io. h

J. l\lobody suspicious hanging around the neighborhood?

l_.‘ l\lo_.

J. if it turns out that the fire cause wasn’t accidental, who‘d have the best

opportunity to light it?

l_i V\/hat do you mean if it was accidental?

4 Page 75 of 90 - Linda Stermer interview

 

 

CeSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 f.iled 10/31/18 PegelD.3032 Page 77 Of 91

if it was not, was not an accidental fire.

Todd and l were the only ones horne

Okay i hat s just the two ot you Can you think of anybody that::v¥ouid say that
you iit the tire? 1

 
  
  
  
   

l\lo. l mean Everybo‘dy liked me.

 

When his mother realizes it’s under su picio "' _as i_idd;a.

sat i get eiehg ee Weii Wiih r' "

l know you get alon
sun rose and set in

Yeah he was (unir.’fte`lilgible:

 

And she bailed him out of trouble eve me he got in trouble And she he
one that loaned him the money to baii"'himse|f out every time.

That‘s enough, l\/lom

l’m sorry. l

V\/hat is her name?

Sandy.

And what’s her add, where does she live at?
Um, 7522 Currier h
Currier?

C-U-P\-R-l-E-R. Drive. lt’s ln, ah

Portage.

Hart Port Grand or l-lart (unintelligibie)

l'lartz ttart. .i don’t know, l-iartland it’s a senior comple)<. But thats her
address

Oh.

Page 76 of 90 ~ Linda Stermer interview

CeSe 2212-CV-14013-A.]T-DRG _ECF NO. 46-2 filed 10/31/18 PegelD.3033 Pege 78 Of 91

C_._

.| tried to tell hier, but my daughter would :;not le me

And lt’s iri Portage. And, um, her phone number is 269~323~Ol l5.

V\/as she aware of the problems and stuff that you and Todd had been having?
l\lo. v l
l\lo.

l\lo?

     
  
    

Okay.
And l, l tried that yeare~

But you`re fully awar

 

l’m fully aware of it_ jj§i:$i$ rig
it, l have a letter _. k

(to her mother) yYou go "-..,ether vehicle?
l have l
You got another vehicle’?

Yes.

dust be nice.

Okay.

My family was aware that l was gonna ieave.

(unintelligibie)

l told you yesterday that l was thinking about going to my sister’s.
l wasn’t aware she was (unintelligible)

Right. And then

And we were thanking God that she finally got brains in her*head.

Page 77 of 90 - Linda Stermer lnteri//'evv

CeSe 2212-CV-14013-A.]T-DRG ECF NO; 46-2 filed 10/31/18 PagelD. 3034 Pege 79 Of 91

Ji

See, and t’hat s the thing, is that number one any time you have a tire loss
that’ s this blg, with this much damage, the insurance company is going to do a
full investigation

ldon’t think we had insurance though Todd told me rhath§ d|d; `
insurance, and it was due m D§C§mb§r . v

  
   
 
   

The, and now is that the homeowner’s?

Yes. And

  
   
 

But they said they got, lt wasn’t§._":'

l
gloves for his business And"

That’s your husband

.'rie went out and all _ d the gloves real fast l-le had a lot of customers
vii-altingl and he made enough money to get us out of foreclosure And then he
continued selling those gloves and everything, and, l don t know where all
that money went l know he bought gloves initially, but l dont know where all
the money went that he made from selling the gloves C>r if he just wasnt

 

. managing it very good, because we re now again behind on our mortgage

The utilities were ali caught up and the ,you know, insurances and everything
Except for l thought the house insurance was paid and he told me it was due
December ‘iSt and he told me that we don’ t have mortgage insurance any
more. And he told me that we were gonna lose the house, and he said that,
you know, we should just think about selling the house before we lose lt So
there were a lot of financial pressures on hirri, too And .You know l told him
l would help pay the bills. l would continue you kiiow, the insurance on him,
and all of us and everythingf And if we could just work things out, you know

with the separation for a little while that was fine But you know l was filing

for divorce. And l said, you know, it’s, it takes months, so if we get things
worked out before then, then, you know

And so the financial aspects and then he basically controlled the money, l
think is what you told me yesterday So that you may want to get into the bank
accounts and see what money came ln, what money went and where it went.
‘Cause you borrowed some ~

l’m not on his checking account

Page 78 or' 90 ~- Linda Stermer /ni‘erviev-./

\]

KS.

She has to have a death certlticate 'ilrst, because she is not on his account

Oh, she’s not on the account?

  
  
  
 
  

l\lo.

Oh, okay.

l’m on, l’m on the small accou`nt, but he’s on t
ls his mom. dust him and his mom,

Then what’s the name ot his lou

Search and Supply. A
customers loved him_;a'n

       
  

only go to work a cod l<`:ljve just gone out and worked

every day and

.l

(inaudible)

‘\!\le, we had talked, u “

Yeah, that’s l_en.

about him getting another job, .L\nd, um, that’s when he told me ‘cause a »
friend ot mine works at the new bic diesel plant up in Ba-ngor, and she was
telling me how great ot jobs they’ve got open. And l asked Todd it that’d be
something he’d be interested ln, ‘cause he’s got a college degree and, you
know, he, he could’ve done that supervisor job and he would’ve started out at
like seventeen or eighteen dollars an hour. And l sald, “And you only work a
couple days a week, you could do your business, too. And do thls. And, you
know, then we would be alright.” And he said he couldn’t go and apply tor that
because he had just gone out with his friendg ah, and smoked some weed.
And that’s what dett wanted me to, you know

Anythlng else that you can think ot, that _we haven’t covered’?

lguess l

V\!e’\/e been through a lot. And that’s the thing, and anytime, like l said, with
the insurance company basically, they're gonna do, we’re gonna do a tull
investigation, and that’s why l’m gonna end up with an electrical englneer,
mechanical englneer, going through the system and appliances to try to tlgure-
out exactly what happened with the cause ot the tire. And with the insurance
nowadays, it‘s almost automatlc. Anything more than, you know, tour, ilve, si>~;

Paoe 79 of .QO - Linda Stermer lnter\/ie\)v

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOSG Page 81 Of 91

thousand dollars in loss, they’re looking. ‘Cause one ot the things that we look
at too is product liability issues ls there an appliance tailure’? Or, you know, a v
workmanship failure? You know, you just pay somebody to tlx an appliance
and three days later, it’s on flre. So we look at a lot ot'those generalt :njgs. So
for us to do the'full investigation is normal And l know that app l -.
talked with Scott l_eroy from the State Police to make sure
came in here he’s working with the local fire depart

 
  
 
  
   

 
 

Right.

e'£ ss in their;d_.g`tles. So
\ _ anything you think that
gonna be in town1 out

That’s, and, you know, i'th'“=jy
that, that’s, you know; ij "'
might be helptui, you'»'é §
of town. l\Ay plan is, v all tin tact, that’s the tire
chief has apparent k _. ,,e ofthe cal farmers has a big excavator
that we_can get l\/lon<;l_a_y. Be'c'-au-sej€inzor§d"er»~;jto~go in and work, we’re.gonna
have to pull some of that to'p§tloorandstuft off so that lt.doesn’t flop on us
while we’re in there vii :ki i' ~

     
 
  
    
  

 

 

   
  
 

 

 

 

   
 

 

(lnaudible)
But my plan is, at thisl point, itl can get everything lined up, is to be here by
9:00 l\/ionday morning, and when l leave l\/londay afternoon, we’ll be
completely done with the scene So then l’ll be out of your hair at least
`You’re not in my halr. l don’t
\!\/ell you’ve got my numbers too so you can
Yup.
get a hold other through me.

Yup, and like l said, if l call That`s why l talked with l<lm the other day and
that’s what she said_, it something happens you can’t get a hold of l_inda, give
us a call."But like l said, with your permission slip and all that, that stuff there

Oh, you know what l don’t have, l don’t have i\/lom’s name.

(inaudible) l’m sure l’ll be staying with ~l'<ate for the week.

l\/laitee Bakhuyzen. B-A-K-H-U-Y-Z'.~E~l\l. And.that’s l\/lart_ee with l\/i-A-R~T-E-E, .

'r~s~e. Arici irs s-H-A

Page 80 of 90 ~ Linda Stermer interview

Case 2:12-cv- - 1
14o13 A.JT-DRG ECF No. 46-2 filed 10/31/18 PagelD 3037

F’aoe 82 or 91
s-/t-k~a-u-v_z-s-l\l.

s~A-l< kind or like aal<lrolzen?
Yeah.

Buckheizen.

  
  
  
  
    

rl:“>uckheizen. l-iow about a phone number for y.'o_tl"’~?

 

3 Ah, 269-377»9826. .

Outstandlng.

l
` ,

u had to ask her, but

Um l know that To:
more money, that it just

last year, .l had asked;h`er
kept him from going outéand:,jyou. no g`:§:elf-sufiicient. And he owes
her a great l owe pena gri‘e":`at':su;m'Z g `_y. So when he asked her this last
time to borrow money,;:.{_s"her en ,r.n i f direction of his sister, ‘cause she
didn’t have`any more_i;'mon,; " loan him l think that we owe Sanoly several
thousand dollars And..,j`u .

  
 
 

   
   

' But you don’t know how much ‘cause he never told you how much.
Sandy mentioned lt once, and it was pretty astronomlcal.

How much are you talking about?

l think ll was so,ooo dollars

/\nd then he’s into his sister for 25?

And his brother for five. And, um, that was one_of the things that he’d
mentioned recently, that between the two of us life insurance policies, we
might just have enough to take care of everybody But, you know, Todd has
been depressed off and on, but he refused to take any medication since, um,
we lived on the other side of l_awrence, because our insurance company, um,
dropped his prescription¢insurance because, Todd said lt was because he was
on antl-depressants and they felt he was, you know So he refused to take
any anti~depressants ever again. lie got mad at me when he found out that l
wanton some recently Asked me what the heck kind of stress did l have? l
didn’t owe anybody,any money', lt was him that 30 \"ou know, his mom
and l have talked about him being depressed, you know, off and on.

Page 8t of 90 -- Linda Stermer lnter\/iew

CaSe ,2:12-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.SOSS Page 83 Of 91

J.

i\iow with l’m still \/Vhat l’m still looking at, you know, the timefrarrle on

the tire. And now, and the way you describe it, the chair was on flre, and then
the, over by the bedroom was on flre, with him in that area of the flre. lite was
obviously on fire. is there anything up there that could start the fire~’Pr~ ~ .

  
 
 

The fireplace was the only thing l could think of. But it was §_a-n__~"up j
almost to the tireplace, and fire came from our bedro ' jptlon,,j.gtoyvards rne,
towards the flreplace. 30 lt wasn’t the fil'eplace.;.._lq.knovt hat lt was:""'?the

fireplace.

  

 

lt wasn’t fire corning out of the fire.pla_`cie:..;or the gong the'-.celiling, or

anything’.7 lt was

l\lo. lt

 

lt was in the room? ,
l came from the basementthe plpes';a;:r.e_:.there, in that wall._ And

You don’t know whatl§he‘ wasdolng up;it:here either.

 

l-low about fuel? \’o sa ' _ou could smell the oil and the fuel. V\/as, and you
said it wasn’t as stror;i_f upstairs Could he have had fuel on him?

l took him juice. l would’ve smelled lt.

And then when you took him the juice, he was sitting in the recliner?

Yeah.

‘Cause what l’m looking at, and you know, from the fire investigation, is how
do we'get that much fire that fast? in the middle of the atternoon, with two
able-bodied adults that were horne?

E><actly,.
You know, the smoke detectors you didn’t hear ‘til you got outside Maybe,
with everything going on, you just didn’t notice ‘tll you were out there. But

yeah, and that’s an issue. ls there’s a lot of fire very_fast.

l know, l know exactly what it all looks like. lt doesn’t make any sense

whatsoever lt’s just

What was he wearing Saturday? Do you remember?

Sweatpants.

' F'age 82 of 90 ~ Linda Stermer interview

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.3039 Page 84 Of 91

J. Was he wearing the same clothes Saturday that he wore Sunday?

l_. Oh. Sunday he waswearing sweatpants l don’t remember what he was
wearing Saturday. '

J. Sunday he had sweatpants on.

~ l_. l~lmm mm.

   
   
 

     
 

J. V\`/hat kind of shirt did he have on?_ _ ____

   

 

 

l_. l don’ t remember if he had a shirt-a

 

J. Okay And would he have z~':would?lt bel olm__ m lfhe v_v_ore _cl`othes
V\lell let’s say Saturda _ _' `he " ' eed_l`

on him, would he h

 

   

l_. l\lCl.
U. l\lo.
J. l-le was more, a little;neat_e"r than that?

 

l_. l~le was a pretty boy.l

U. .This, this man

L_. . lf he, well if he spilled a ..;
U. is very neat.
L. tiny bit on him, l mean, yes.

U, l \/ery neat.

L. But not a lot.
U. \/ery well groomed.
U. Yup.

!...

But he was a slob around the house, l\/lom.

l,l. Yeah.

Page 83 of 90 a Linda Stermer Inten/iew

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Ca_Se 2212-C_V-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|D.304O Page 85 Of 91

Ll.

But he was the nlcest young man you could ever hope to meet Everybody
loved him when they met him,

Well he coached so many kids around town, that so many pa~rents:.ju?s.t L..

But they didn’t know the other side of him.

  
   
     
     
 
  

i\iow has he had any problems with his anger, __~
before “'

He..

you guys got married’?_ _:
buddies'? "

as_;i`like eighteen or so. Um,

He had, um, um, an asjsiau
h him, You know, ‘cause

.~ ..`

he had a drunk urivlng:iil hastie igt;__ .. @c@un ""
they require you to bfi '

 

l»‘

 

   
   
 

4~.; ;

a persdn‘f ith `Tou .j

Ch. Okay.

Um, he had a lot of 'i°ssues, but he wouldn’t ever go and see somebody

about it,

.V\/hat kind of anger issues?

l-le had a temper. lie had a real bad temper. And, you know, he was, he said
that he never hit me, but he could bruise me without his fists. l mean he hit rrle

with a fishing reel orle tlme.
Yup. l remember.

Um

Pulled your hair.

lrl_orse blt.

l<icked you. lie hung a noose in the barn one time for her. So that when she
walked in at night, she’d bump into it.

And then the verbal in this last round’s been going o_n pretty steadily. That’s
what you '

F'aoe 84 of 90 - Linda Stermer /rlfer\/l'elt/

ag

L. The, the, the verbal has~always been there. dust more and more l mean ,
talked to my lawyer about everything you know, a few times. l mean, over the
past couple years, we, l didn’t just start talking about divorce just a couple
months ago.' l.ast year, Todd told me to go see a lawyer', d """':ivorce.

And then we’d work things out. i\nd

   
  

 
 

U. And like l said she loved him and she’d take
promises, and

 
 

l_. lle’d change for a while. l mean

l sur tile d‘\i`r>.ba@l<

  

  

 
 

tl`.

l_.

J. Now

L. somebody from wo _':scalied to see about getting some concert tickets
thatl had won. !~\nd heljgo;tj"rnad because a man called my cell phone And the
police came, l think i.`;.;`~._i `

1 Yeah.

L. told you that.

J. You had said `\’ea'n, you had talked about the fact that you’d had the one
complaint, but you didn’t go into details. That’s about the time you had to scoot

yesterday
L. Sorry.
J. ls he capable ot lighting himself on fire’? Or of trying to burn the house and

getting caught in it‘? l means has he ever said he was gonna

l_, l
J. burn the house to get rid of it?
L. l\lo. l l mean, the kids were everything to him. l just can’t imagine that, you

know, that he would, knowing we don’t have insurance And, you know, l
mean, his sister was supposed to raise the kids, so l don’t know. l keep going
over this in my mind and trying to figure it out, and the only thing l can figure is
if we were both supposed to go. l mean he told me a long time ago, like

Page 85 of 90 - Linda Stermer interview

CaSe 2212-CV-14013-AJT-DRG ECF NO. 46-2 filed 10/31/18 Page|D.3042 Page 87 Of 91

around Thanksgiving time, that he’d been ...You know, he, he reads the Bible
a lot, and he told me this, um, week that he couldn’t divorce rne, because if a
man‘divorces a woman and she gets, even it she gets remarried or sees
someone else or whatever, that man causes her to commit adulteg `e'n that
man is equally responsible torthat sin, and So he couldn’t.d se _§,€§ l had
to divorce him in order tor it to be right with the Lord. A d h
around Thanksgiving time V\/eli-, it must’ve been eag,,
went to the lawyer, it really scared me then, be
just waiting for a sign from God to see which o

 

    
        
  
   

.__,

 

And as soon as he found out, that vv` 2d bet
So that’s what
She was the one thatwas
was my last w x
That house

.. scare.

was supposed to go.»»up:in tlames, and her with it, t~ie accidentally got in it.

(inaudible)

You didn’t light the tire inside? Becauls'e it certainly would As bad as that

' sounds -

i, l know.

its a terrible thing that road is dead but

The first thing that

he is now resolved

l-ie’s the one that’s gone and l’m here, and l’m
And that’s just what he wouldn’t want.

And it_’s resolved a_ lot ot your problems You know, kind ot a terrible thing to
say, but with him gone, the abuse stops you’re not being harassed

This is the beginning ot my problems now. l mean, that stuttl could live with. l
mean, l’ve lived with that stutt. ‘

Paqe 86 or' 90 »~ Linda Stermer fnten/iev/

Case 2'12-cv-14013
. -A.JT- `
t DRG ECF N0.46-2 filed 10/31/18 PagelD 3043 Page 88 f
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C__

/-\nd she lived with it because she cared about her boys, and she wanted them
to be old enough to decide where they wanted to live before she got a divorce.

  
        
         
       
   
 
 
 

Hmm mm.

That’s one of the things that’s kept her from getting a di\_/€:_

   

5 ct “@r:>i:; z
`;;a couplettiveeks ago,
" ' or a while but you

cided§t:tfiose boys

 

l didn’t want And Todd and l talked about this;,j,_.an
kids” And l told the boys, l had a talk with myf€ "` st s_
and l said, you know, “l`m gonna go and live '
boys are staying here." ‘Cause wh wemo
were staying in the same schoo

  

Yup.

 

§

n ertl§':'e“ajnetit§'iot being in the same place torever. .L\nd

 

road didn’t ila g
i\iow~he’s never had a lj.dt:the~ abusive behavior, anger towards the boys’?
inst he‘ii l
dust the girls

.. scream. But my daughters yes
i-le beat up her oldest daughter
This summer.
l'\low is that Britney’?
Ash`iey.
Ashley.

Oh, Ashley. l don’t know Ashiey.

This last summer.

Page 87 of 90 - Linda Stermer Inren/i'ew

CaSe 2212-CV-14OJ_3-A.]T-DRG v ECF NO. 46-2 filed 10/31/18 Page|D.3044 Page 89 Of 91

J.

‘Cause l asked Britney about that when she drew my diagram and that
yesterday And she kind ot, actually, she kind ot looked at me tunny. But w'e
ask funny questions That’s, that’s, you know, part ot the job. Was that .v.vhen ,
she did the master bedroom, she did “i\/iorn” and "Todd.” = *

 

 
  

i-lmm-mm.
Hmm

You know? /-\nd l said obviousiy, this is ..

This is i\/lom. and Too'
dad?

l\lo.

And she had, l think she waskin z :ot sta;;_jiti`e'd;by that question
And their grandma Sandydoes not call them her grandchildren either.

Yes, she does - 4

(inaudible)

Yes, she does She thinks ot those girls dust ‘i/eah (inaudible)

That‘s not what l get from them.

l\low‘has Britney had any issues with him?

Yes Arguments, but

l mean as tar as you know i\lo physical’?

l\lo`physical V\/ell l mean he’s, he’s gone overboard on spanking her a
couple times when she was younger But, um, you know, nothing terribly l

mean it was a spanking, and she was fighting with him, and so he pushed her
back onto the bed. But, you know, not ` '

v Now has he ever been married betore".`/

l\ioi

This is the first for him’?

Page 88 of 90 - Linda Stermer Inten/i'ev./

 

CaSe 2212-CV-14013-A.]T-DRG ECF NO. 46-2 filed 10/31/18 Page|'D.3045 Page 9O Of 91

!_..

Yes.
First for you’?

No~. Second for me. lviy daughters are from my first marriage:.

  
 
 

Oh, that Yeah, that’s right, Duh.
And our oldest son is actually my brother’s chiilid;;_:i\/\/e,

`e had custody of him
since he was two years old. Three pry. ‘ 4 5 '-

    
  

 

And then which son is that? Th&z%i§z.¢.
Cory.
Ti`ia‘i'$ Cory_
Cory,

That’s my son’s boy ,_

 

 

And he is seventeen,¥._§s'§i):vy_.e"ve had him for fourteen years
He’s your son.

That’s right,

Anything else that you can think of? l realize this is difficult, but trying to put
the thing in And what l’m looking at now is wiring, plumbing, furnace and
trying to put together to come up with a logical explanation of how we got that
much fire that fast in the living room. Where he’s, basically, upstairs and
You know, and like you had said, the medication he was on was antibiotics

and stuff for an ear infection \/Vould- he have been drinking that day at all’?
Would he have any alcohol in his system?

idon’t think so.

Couid’\/e had marijuana in it,

l already told him about that. But that would’ve been a while ago, so
You said you don’t know for sure.
Well, it shou|d’\/e been.

lt’li come up on the autopsy

F‘a_ge 89 of 90 _ Linda Stermer interview

 

 

'CdSe 2212-CV-14013-A.]T-DRG 'ECF NO. 46-2 filed 10/31/18 Page|D.3046 Page 91 Of 91

l_. Yeah. Theyjust picked up his friend ror drunk driving So he wouldn t get in
trouble in an accident

 
  
  

J. l thinkl have everything l need. l’ve got other work l’m gonna do,wa_ "
gonna turn you over to the next guy that’s gonna ask you a who' `
stupid questions about this agaln. i_et me, let me turn thi

U. l-le'll just take over your seat

 

   
   
 

J. Yeah. lt is now 12:39, and l can stop the reco

Enoi' of interview,' transcribed 7

 

Th.".s transcript Was prepared to .~ § f iscern What' Wa s being
said and is, for the most part, v rbatlm Occaslona y, io clarity stammering/sfuttering is not

included m the fext.

Page 90 of 90 ~ Linda Stermer interview

